CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 1 of 95




           EXHIBIT A
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 2 of 95




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



 IN RE PORK ANTITRUST LITIGATION             Case No. 0:18-cv-01776-JRT-HB

                                             DIRECT PURCHASER PLAINTIFFS’
                                             SECOND THIRD AMENDED AND
 This Document Relates To:                   CONSOLIDATED CLASS ACTION
 ALL DIRECT PURCHASER                        COMPLAINT
 PLAINTIFF ACTIONS
                                             DEMAND FOR JURY TRIAL

                                             (UNREDACTED VERSION FILED
                                             UNDER SEAL)




920586.1
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 3 of 95




                                               TABLE OF CONTENTS
                                                                                                                                 Page

I.         NATURE OF ACTION ........................................................................................... 3

II.        JURISDICTION AND VENUE .............................................................................. 7

III.       PARTIES ................................................................................................................. 8

           A.        Plaintiffs ....................................................................................................... 8

           B.        Defendants .................................................................................................... 9

IV.        FACTUAL ALLEGATIONS ................................................................................ 13

           A.        Defendants’ anticompetitive scheme started from Agri Stats’ central role
                     in collusion in the Broiler industry. ............................................................ 14

           B.        After success in the Broiler industry, Agri Stats began marketing its
                     collusive scheme to the swine integrators. ............................................. 1615

           C.        Agri Stats provided pork integrators the unparalleled ability to monitor
                     pricing and production, and to discipline co-conspirators for not complying
                     with the collusive agreement. ................................................................. 1817

           D.        Defendants controlled the supply and production of pork in the United
                     States, which allowed the scheme to succeed. ....................................... 2726

           E.        The level of concentration in the pork industry was optimal for
                     Defendants’ collusive scheme. ............................................................... 3231

           F.        The inelastic demand for, and homogeneity of, pork products facilitated
                     collusion ................................................................................................. 4039

           G.        Defendants took advantage of numerous opportunities to collude. ....... 4140

           H.        Defendants implemented capacity and supply restraints during the Class
                     Period...................................................................................................... 5049

                     1.        Summary of Defendants’ Conspiratorial Supply Restraints ....... 5049

                               a.         Smithfield ......................................................................... 5352

                               b.         Tyson ................................................................................ 5453

                               c.         JBS/Cargill ....................................................................... 5453



920586.1                                                       i
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 4 of 95




                             d.        Hormel.............................................................................. 5553

                             e.        Seaboard ........................................................................... 5554

                             f.        Triumph ............................................................................ 5654

                             g.        Clemens ............................................................................ 5655

                             h.        Indiana Packers ................................................................ 5755

                    2.       Timeline of the Conspiracy ......................................................... 5755

           I.       Abnormal pricing during the Class Period demonstrates the success of the
                    collusive scheme..................................................................................... 6968

                    1.       The average hog wholesale price experienced an unprecedented
                             increase beginning in 2009. ......................................................... 7068

                    2.       The pork cut-out composite price experienced a dramatic increase
                             beginning in 2009 and continuing throughout the class period. . 7270

                    3.       Defendants’ revenues increased beginning in 2009, even taking into
                             account defendant-specific costs. ................................................ 7371

           J.       Overcharges due to the cartel were reflected in higher pork prices. ...... 7573

           K.       Defendants actively concealed the conspiracy and Plaintiffs did not and
                    could not have discovered Defendants’ anticompetitive conduct. ......... 8078

V.         CLASS ACTION ALLEGATIONS .................................................................. 8482

VI.        ANTITRUST INJURY ...................................................................................... 8785

VII.       VIOLATION OF SECTION 1 OF THE SHERMAN ACT ............................. 8886

VIII. REQUEST FOR RELIEF .................................................................................. 9088

IX.        JURY TRIAL DEMANDED ............................................................................ 9290




920586.1                                                  ii
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 5 of 95




           Direct Purchaser Plaintiffs (“Plaintiffs”)1 bring this action on behalf of themselves

individually and on behalf of a plaintiff class consisting of all persons and entities who

purchased pork directly from a Defendant or co-conspirator named in this Second

Amended and Consolidated Class Action Complaint in the United States from at least

January 1, 2009 until the present (the “Class Period”). Plaintiffs bring this action against

Defendants for injunctive relief and treble damages under the antitrust laws of the United

States, and demand a trial by jury.

                                 I.     NATURE OF ACTION

           1.     The pork integrator Defendants (i.e., the Defendants other than Agri Stats)

are the leading suppliers of pork in an industry with approximately $20 billion in annual

commerce. The United States pork industry is highly concentrated, with a small number of

large companies controlling the supply. Defendants and their co-conspirators collectively

control over 80 percent of the wholesale pork integration market.

           2.     Defendants, Agri Stats, Inc. (“Agri Stats”), Clemens Food Group, LLC, The

Clemens Family Corporation (“Clemens”), Hormel Foods Corporation, Hormel Foods,

LLC (“Hormel”), Indiana Packers Corporation (“Indiana Packers”), JBS USA Food

Company (“JBS” or “JBS USA”), Seaboard Foods LLC, Seaboard Corporation

(“Seaboard”), Smithfield Foods, Inc. (“Smithfield”), Triumph Foods, LLC (“Triumph”),

Tyson Foods, Inc., Tyson Prepared Foods, Inc., and Tyson Fresh Meats, Inc. (“Tyson”),

entered into a conspiracy from at least 2009 to the present to fix, raise, maintain, and


    1
     “Plaintiffs” refers collectively to each of the named plaintiffs identified in Section
III(A) of this complaint.


920586.1                                     3
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 6 of 95




stabilize the price of pork.2 The principal (but not exclusive) method by which Defendants

implemented and executed their conspiracy was by coordinating output and limiting

production with the intent and expected result of increasing pork prices in the United States.

In furtherance of their conspiracy, Defendants exchanged detailed, competitively sensitive,

and closely guarded non-public information about prices, capacity, sales volume, and

demand through their co-conspirator, Defendant Agri Stats.

           3.   Beginning in at least 2009, Agri Stats began providing highly sensitive

“benchmarking” reports to the majority of pork integrators. Benchmarking allows

competitors to compare their profits or performance against that of other companies. But

Agri Stats’ reports are unlike those of lawful industry reports. Agri Stats gathers detailed

financial and production data from each of the pork integrators, standardizes this

information, and produces customized reports and graphs for the co-conspirators. The type

of information available in these reports is not the type of information that competitors

would provide each other in a normal, competitive market. Instead, the provision of this

detailed information acts as the modern equivalent of the proverbial smoke-filled room.

Rather than meeting in a room with pen and paper, Agri Stats collected the pork integrators’

competitively sensitive supply and pricing data and intentionally shared that information

through detailed reports it provided to the pork integrators. On a weekly and monthly basis,

Agri Stats provides the pork integrators with current and forward-looking sensitive



    2
     For the purposes of this complaint, “pork” includes pig meat purchased fresh or frozen,
smoked ham, sausage, and bacon. From time to time in this complaint, “pork” and “swine”
are used interchangeably, particularly when referring to the pork or swine industry.


920586.1                                  4
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 7 of 95




information (such as profits, costs, prices and slaughter information), and regularly

provides the keys to deciphering which data belongs to which participant. The effect of this

information exchange was to allow the pork integrators to monitor each other’s production

and hence control supply and price in furtherance of their anticompetitive scheme.

           4.   The data exchanged through Agri Stats also bears all the hallmarks of the

enforcement and implementation mechanism of a price-fixing scheme. First, the data is

current and forward-looking – which courts consistently hold has “the greatest potential

for generating anticompetitive effects.”3 Second, information contained in Agri Stats

reports is specific to pork integrators, including information on profits, prices, costs, and

production levels; instead of being aggregated as industry averages to avoid transactional

specificity and the easy identification of specific integrators. Third, none of the Agri Stats

information was publicly available. Agri Stats is a subscription service which required the

co-conspirators to pay millions of dollars over the Class Period – far in excess of any other

pricing and production indices. Agri Stats ensured that its detailed, sensitive business

information was available only to the co-conspirators and not to any buyers in the market.

Defendants utilize the information exchanges through Agri Stats in furtherance of their

conspiracy to fix, raise, stabilize, and maintain artificially inflated prices for pork sold in

the United States.




    3
     Todd v. Exxon Corp., 275 F.3d 191, 2011 (2d Cir. 2001) (Sotomayor, J.) (quoting
United States v. Gypsum Co., 438 U.S. 422, 441 n.16 (1978)).


920586.1                                   5
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 8 of 95




           5.   While Defendants went to great lengths to keep the existence of the

conspiracy a secret, they admitted in public calls that they had discussed production cuts

at least once, and publically signaled to each other that no supply increases would happen.

Furthermore, each Defendant engaged in acts in furtherance of the conspiracy by

participating in such supply cuts and by limiting increases in supply that otherwise would

have occurred.

           6.   In addition, there are numerous “plus factors” in the swine industry during

the Class Period, including but not limited to multiple industry characteristics which

facilitate collusion, such as vertically integrated operations, high barriers to entry

preventing competitors from coming into the market, high pork industry consolidation and

concentration, inelastic supply and demand, and homogeneity of pork products. 4 These

plus factors add plausibility to plaintiffs’ allegations of a price-fixing scheme.

           7.   Defendants’ restriction of pork supply had the intended purpose and effect

of increasing pork prices to Plaintiffs and class members. Beginning in 2009, the earnings

of the integrators began to increase, as they took an increasing amount of the profits

available in the pork industry. As a result of Defendants’ unlawful conduct, Plaintiffs and

the class members paid artificially inflated prices for pork during the Class Period. Such

prices exceeded the amount they would have paid if the price for pork had been determined




    4
     Pork is homogenous within cut type – e.g., a pork belly from Tyson and Smithfield
are virtually indistinguishable.


920586.1                                   6
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 9 of 95




by a competitive market. Thus, Plaintiffs and class members were injured by Defendants’

conduct.

                           II.    JURISDICTION AND VENUE

           8.    Plaintiffs bring this action under Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15 and 26, for injunctive relief and to recover treble damages and the costs of

this suit, including reasonable attorneys’ fees, against Defendants for the injuries sustained

by Plaintiffs and the members of the Plaintiff Class by virtue of Defendants’ violations of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

           9.    This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4

and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

           10.   Venue is appropriate in this District under Sections 4, 12, and 16 of the

Clayton Act, 15 U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b), (c) and (d), because one

or more Defendants resided or transacted business in this District, is licensed to do business

or is doing business in this District, and because a substantial portion of the affected

interstate commerce described herein was carried out in this District.

           11.   This Court has personal jurisdiction over each Defendant because, inter alia,

each Defendant: (a) transacted business throughout the United States, including in this

District; (b) manufactured, sold, shipped, and/or delivered substantial quantities of pork

throughout the United States, including this District; (c) had substantial contacts with the

United States, including this District; and/or (d) engaged in an antitrust conspiracy that was

directed at and had a direct, foreseeable, and intended effect of causing injury to the




920586.1                                    7
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 10 of 95




business or property of persons residing in, located in, or doing business throughout the

United States, including this District.

           12.    The activities of the Defendants and all co-conspirators, as described herein,

were within the flow of, were intended to, and did have direct, substantial and reasonably

foreseeable effects on the interstate commerce of the United States.

           13.    No other forum would be more convenient for the parties and witnesses to

litigate this case.

                                        III.       PARTIES

A.         Plaintiffs

           14.    Maplevale Farms, Inc. is a New York corporation with its principal place of

business in Falconer, New York. It purchased pork directly from one or more Defendants

during the Class Period and suffered antitrust injury as a result of the violations alleged in

this Complaint.

           15.    John Gross and Company, Inc. is a Pennsylvania corporation with its

principal place of business in Mechanicsburg, Pennsylvania. It purchased pork directly

from one or more Defendants during the Class Period and suffered antitrust injury as a

result of the violations alleged in this Complaint.

           16.    Ferraro Foods, Inc. is a New Jersey corporation with its principal place of

business in Piscataway, New Jersey. It purchased pork directly from one or more

Defendants during the Class Period and suffered antitrust injury as a result of the violations

alleged in this Complaint.




920586.1                                       8
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 11 of 95




           17.   Ferraro Foods of North Carolina, LLC, is a North Carolina Limited Liability

Company with its principal place of business in Mebane, North Carolina. It purchased pork

directly from one or more Defendants during the Class Period and suffered antitrust injury

as a result of the violations alleged in this Complaint.

           18.   Olean Wholesale Grocery Cooperative, Inc. is a New York corporation with

its principal place of business in Olean, New York. It purchased pork directly from one or

more Defendants during the Class Period and suffered antitrust injury as a result of the

violations alleged in this Complaint.

           19.   Plaintiff Joe Christiana Food Distributors, Inc. is a Louisiana corporation

with its principal place of business in Baton Rouge, Louisiana. It purchased pork directly

from one or more Defendants during the Class Period and suffered antitrust injury as a

result of the violations alleged in this Complaint.

B.         Defendants

           Agri Stats

           20.   Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana and

is a subsidiary of Eli Lilly & Co. Throughout the Class Period, Agri Stats acted as a co-

conspirator and committed acts in furtherance of the conspiracy by facilitating the

exchange of confidential, proprietary, and competitively sensitive data among Defendants

and their co-conspirators.

           Clemens

           21.   Clemens Food Group, LLC is a limited-liability company headquartered in

Hatfield, Pennsylvania. During the Class Period, Clemens Food Group, LLC and/or its


920586.1                                    9
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 12 of 95




predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

           22.   The Clemens Family Corporation is a Pennsylvania corporation

headquartered in Hatfield, Pennsylvania, and the parent company of Clemens Food Group,

LLC. During the Class Period, The Clemens Family Corporation and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce,

directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.

           Hormel

           23.   Hormel Foods Corporation is a Delaware corporation headquartered in

Austin, Minnesota. During the Class Period, Hormel Foods Corporation and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates, including but not

limited to Hormel Foods, LLC sold pork in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.

           24.   Hormel Foods, LLC is a Minnesota corporation headquartered in Austin,

Minnesota. Hormel Foods, LLC is a wholly owned subsidiary of Defendant Hormel Foods

Corporation. During the Class Period, Hormel Foods Corporation and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce,

directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.




920586.1                                 10
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 13 of 95




           Indiana Packers

           25.   Indiana Packers Corporation is an Indiana corporation headquartered in

Delphi, Indiana. During the Class Period, Indiana Packers Corporation and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States. Indiana Packers Corporation’s parent companies are Itoham Foods, Inc.,

Mitsubishi Corporation, and Mitsubishi Corporation (Americas).

           JBS

           26.   JBS USA Food Company is one of the world’s largest beef and pork

processing companies and a wholly owned subsidiary of JBS USA Food Company

Holdings, which holds a 78.5 percent controlling interest in Pilgrim’s Pride Corporation,

one of the largest chicken-producing companies in the world. JBS USA Food Company is

a Delaware corporation, headquartered in Greeley, Colorado. During the Class Period, JBS

USA Food Company and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

           Seaboard

           27.   Seaboard Foods LLC is a limited-liability company headquartered in

Shawnee Mission, Kansas, and is a wholly owned subsidiary of Seaboard Corporation.

During the Class Period, Seaboard Foods LLC and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through

its wholly owned or controlled affiliates, to purchasers in the United States.


920586.1                                  11
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 14 of 95




           28.     Seaboard Corporation is a Delaware corporation headquartered in Merriam,

Kansas, and is the parent company of Seaboard Foods LLC. During the Class Period,

Seaboard Corporation and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

           Smithfield

           29.     Smithfield Foods, Inc. is incorporated in the Commonwealth of Virginia, and

an indirect wholly owned subsidiary of WH Group Limited, a Chinese company.

Smithfield Foods is headquartered in Smithfield, Virginia. During the Class Period,

Smithfield Foods, Inc. and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold pork in interstate commerce, directly or through its wholly owned or

controlled affiliates, to purchasers in the United States.

           Triumph

           30.     Triumph Foods, LLC is a limited-liability company headquartered in St.

Joseph, Missouri. During the Class Period, Triumph Foods, LLC and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce,

directly or through its wholly owned or controlled affiliates, to purchasers in the United

States.

           Tyson

           31.     Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered

in Springdale, Arkansas. During the Class Period, Tyson Foods, Inc. and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate


920586.1                                     12
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 15 of 95




commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

           32.   Tyson Prepared Foods, Inc. is a Delaware corporation headquartered in

Springdale, Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the

Class Period, Tyson Prepared Foods, Inc. sold pork in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

           33.   Tyson Fresh Meats, Inc. is a Delaware corporation headquartered in

Springdale, Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the

Class Period, Tyson Fresh Meats, Inc. sold pork in interstate commerce, directly or through

its wholly-owned or controlled affiliates, to purchasers in the United States.

                             IV.    FACTUAL ALLEGATIONS

           34.   Starting in at least 2009 and continuing to the present, Defendants conspired

to fix, raise, maintain and stabilize pork prices. To effectuate and ensure the stability of

their anticompetitive agreement, Defendants relied on a unique industry data sharing

service provided by Agri Stats. Agri Stats provided a means for Defendants to obtain and

monitor critical and competitively sensitive business information regarding each other’s

production metrics, thereby serving as a central and critical part of Defendants’ price-fixing

scheme, resulting in a stable and successful anticompetitive cartel.




920586.1                                   13
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 16 of 95




A.         Defendants’ anticompetitive scheme started from Agri Stats’ central role in
           collusion in the Broiler industry.

           35.   Agri Stats has played a central role in collusion in other industries, including

involvement in the Broiler industry.5 As alleged in the In re Broiler Chicken Antitrust

Litigation, No. 16-cv-08637 (N.D. Ill.), the Broiler producers used Agri Stats as a part of

their conspiracy to restrain production and inflate prices.

           36.   In the Broiler industry, Agri Stats collected and disseminated to the other

members of the conspiracy disaggregated financial information (such as monthly operating

profit, sales and cost per live pound), production volumes, capacity, slaughter information,

inventory levels, and sales data for finished product form and type, amongst other pieces

of competitively sensitive business information. The Agri Stats reports contain line-by-line

entries for plants, lines, and yields of various Broiler facilities. Agri Stats relied upon (and

the co-conspirators agreed to) a detailed audit process to verify the accuracy of data from

each Broiler producer’s complex, sometimes directly contacting the Broiler producers to

verify the data. Agri Stats also provided detailed price reports to the Broiler industry

through its subsidiary, Express Markets, Inc., also known as EMI. Agri Stats collected data

from the Broiler producers on a weekly basis and provided its reports to Broiler producers

on a weekly and monthly basis.

           37.   The detail of these reports ensured that competitors could quickly decode the

information of their purported competitors. The Broiler complaints allege it was common

knowledge that the detail of the Agri Stats reports allowed any reasonably informed


     5
         “Broilers” are chickens raised to be slaughtered before the age of 13 weeks.


920586.1                                    14
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 17 of 95




producer to discern the identity of the competitors’ individual Broiler complexes. The

Broiler reports, in parts, contained so few producers participating that the identities were

obvious. Other reports contained such detailed data that it could be matched with the

publicly stated aggregate data for larger Broiler defendants such as Tyson. The complaints

allege that Agri Stats purposefully circulated this information to top executives to facilitate

agreement on supply, constraints, and price.

           38.   In the Broiler industry, plaintiffs also alleged that Agri Stats – known to its

co-conspirators to be a willing and informed conduit for illicit information exchanges –

used public and semi-public forums to convey messages to industry participants that

furthered the purposes of the conspiracy by reassuring conspirators that production cuts

would continue, and by inducing them to continue to act in concert to ensure they did. Agri

Stats’ own statements in the Broiler industry facilitated the implementation of the

agreement to restrict supply.

           39.   In denying defendants’ motions to dismiss in the In re Broiler Chicken

Antitrust Litigation, the district court noted that given the nature of the Agri Stats reports,

the defendants are in fact sharing future anticipated production information with one

another, which raises significant antitrust concerns.6




    6
     Memorandum Opinion and Order at 11, In re Broiler Chicken Antitrust Litigation,
No. 16-cv-08637 (N.D. Ill. Nov. 20, 2017), ECF No. 541.


920586.1                                    15
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 18 of 95




B.         After success in the Broiler industry, Agri Stats began marketing its collusive
           scheme to the swine integrators.

           40.   Beginning in at least 2008, Agri Stats began to propose a series of

benchmarks to the swine industry along the lines of the benchmarks used to restrain

competition in the Broiler industry. Benchmarking is the act of comparing one company’s

practices, methods or performance against those of other companies.7 Benchmarking of the

type undertaken by Agri Stats and its co-conspirators here reduces strategic uncertainty in

the market and changes the incentives for competitors to compete, thereby enabling

companies to coordinate their market strategies and otherwise restrict competition. This is

especially true where benchmarking involves the exchange of commercially sensitive, and

typically proprietary, information among competitors.

           41.   In 2008, Greg Bilbrey of Agri Stats told swine industry participants that

“Benchmarking in the swine industry could range from simple production comparisons to

elaborate and sophisticated total production and financial comparisons. Each and every

commercial swine operation is encouraged to participate in some benchmarking effort.”8

           42.   Agri Stats emphasized to pork integrators that the goal of the agreement to

share information was profitability, not production, and invited pork integrators again to

participate in the benchmarking. Agri Stats emphasized that “We must remember that the


     7
      Thomas J. Rosch, Antitrust Issues Related to Benchmarking and Other Information
Exchanges, Federal Trade Commission (May 3, 2011) (available at
https://www.ftc.gov/sites/default/files/documents/public_statements/antitrust-issues-
related-benchmarking-and-other-information-exchanges/110503roschbenchmarking.pdf).
     Greg Bilbrey, Benchmarking and Cost – Production Relationships, 19 Advances in
     8

Pork Production Journal, p. 43 (2008) (emphasis added).


920586.1                                   16
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 19 of 95




ultimate goal is increasing profitability – not always increasing the level of production.”

Furthermore, Agri Stats told the industry that “[e]ach swine production company should

be participating in some type of benchmarking. To gain maximum benefit, production,

cost and financial performance should all be part of the benchmarking program.”9

           43.   In April 2009, Greg Bilbrey of Agri Stats again invited swine integrators to

design and operate their own benchmarking effort: “Though all producers may not be part

of or fit into an Agri Stats type benchmarking program, all producers could participate in

benchmarking in some way. Commercial benchmarking opportunities are available.

Producer groups could design and operate their own benchmarking effort.”10

           44.   Beginning no later than 2009, the pork integrators commenced participation

in the detailed benchmarking scheme based upon and found in the Agri Stats reports.

Defendants’ agreement was to use the exchanged benchmarking information to coordinate

supply and stabilize as well as increase prices of pork sold in the United States, to provide

and receive information from Agri Stats, and to use this detailed sensitive information for

the purposes of monitoring each other’s production and pricing. The agreement was

successful as pork prices rose significantly after the agreement was reached.




    9
        Id. at p. 46 (emphasis added).
    10
      Greg Bilbrey, Benchmarking and Tools to Maximize Profit, London Swine
Conference – Tools of the Trade (April 1-2, 2009).


920586.1                                   17
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 20 of 95




C.         Agri Stats provided pork integrators the unparalleled ability to monitor
           pricing and production, and to discipline co-conspirators for not complying
           with the collusive agreement.

           45.   Agri Stats provided pork integrators with an unparalleled ability to share

critical and proprietary information concerning key business metrics, such as production

levels and short and long-term production capacity. Agri Stats was key to the formation,

operation, and continuing stability of the Defendants’ anticompetitive scheme. To

effectuate their agreement, the participants had to have confidence that each member was

following through with the agreement by limiting their production and stabilizing prices.

Agri Stats served that function.

           46.   Each member of the conspiracy, Defendants Clemens, Hormel, Indiana

Packers, JBS USA, Seaboard, Smithfield, Triumph, and Tyson, were all Agri Stats

subscribers and reported their information to Agri Stats. Agri Stats’ parent company, Eli

Lilly, stated that “over 90% of the poultry and pig market” uses Agri Stats in the United

States.11

           47.   Agri Stats collects participant financial and production data electronically

each month. Internal auditors convert the data, prepare it for comparison, and perform the

monthly audits. Each company’s financial data is reconciled to their general ledger to help




     11
      Transcript, Eli Lilly and Co. at Morgan Stanley Global Healthcare Conference (Sept.
13, 2016) (emphasis added).


920586.1                                   18
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 21 of 95




ensure actual costs are reported. Raw numbers are used in Agri Stats’ standardized

calculations so all company numbers are calculated the same way. 12

            48.    Unlike traditional “benchmark” services which rely upon unaudited and

aggregated publicly available data, Agri Stats obtains audited data directly from the

participating producers. When a producer joins Agri Stats, Agri Stats employees spend up

to a month on site to learn, set up, audit, and prepare the producer to submit its data each

month.13 After submission Agri Stats “takes raw data and pulls it in to input system[s] in

[the] right format and location each month.”14 This verified data allows participants to

make “apples to apples” comparisons with competitors in order to increase profitability.15

            49.    Participants in the scheme received monthly detailed reports and graphs that

allow them to compare their performance and costs to other participants, the average of all

companies, the top 25 percent and the top five companies. Current month, previous quarter

and previous twelve-month periods are reported. As of 2009, each monthly report

contained nine sections for analysis and comparison: Performance Summary, Feed Mill,

Ingredient Purchasing, Weaned Pig Production, Nursery, Finishing, Wean-to-Finish,




    12
     Greg Bilbrey, Implementing Simple and Useful Production Benchmarking, London
Swine Conference – A Time for Change (March 28-29, 2012).
    13
           See, e.g., Agri Stats Presentation (AGSTAT-P-0000000360).
    14
           Id. at 372.
    15
           Id.


920586.1                                     19
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 22 of 95




Market Haul, Profit and Sales.16 Participants may also receive an abbreviated Key

Performance Indicator report, as well as historical graphs.17

            50.   Because of the nature of the life of a hog, even current and historical

information regarding the production numbers of hogs provides forward-looking supply

information to competitors. The typical hog production cycle lasts about four years. This

is a function of the hog biological cycle. Given the length of time needed to breed an

existing sow, choose and retain offspring for breeding, and breed and rear the resulting

crop of piglets, it takes nearly two years to substantially increase production.

            51.   One presentation from Agri Stats shows the level of detail provided to

competitors regarding profits in the pork market:18




    16
           Greg Bilbrey, Benchmarking and Tools to Maximize Profit, supra note 10.
    17
           Greg Bilbrey, Benchmarking and Cost-Production Relationships, supra note 9.
    18
           Greg Bilbrey, Key Drivers to Farm Profitability (2011).


920586.1                                    20
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 23 of 95




           52.   The purpose of these reports was not to provide better prices to customers or

to lower the costs of production. Instead, the purpose was to improve the profitability of

the co-conspirators. The particular Agri Stats report referenced above shows the ranking

of each company in profitability, and compares the company to its competitors by

providing the variance from the average. On information and belief, the Agri Stats report

actually circulated to competitors contained even further detail. The same presentation

informed pork integrators that one of the “Advantages for Top 25% in Profit” was the

“Sales Price: $2 - $6/ckg.” (ckg refers to 100 kilograms.) This underlines that the purpose

of these reports was not to allow customers to save money through lower prices and more




920586.1                                   21
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 24 of 95




efficient production – in fact, the opposite was true, the purpose was the profitability of the

Defendant companies and the impact was higher prices for pork customers.

           53.   Much of the information shared by Agri Stats and the other Defendants was

unnecessary to achieve any benefits for pork purchasers. Exchanging individual company

data (particularly current data on prices and costs) is not required to achieve major

efficiencies.19 In fact, in a truly competitive market, the participants would closely protect

such proprietary information from disclosure as providing it to competitors would be

disadvantageous: unless, of course, there is an agreement that the competitors will use the

information to the joint benefit of each other as was the situation in the pork industry.

           54.   Agri Stats knew that it played a central role in this conspiracy. Agri Stats

repeatedly touted its role in standardizing the costs across companies – allowing the

companies to compare the “apples to apples” of its data analysis among competitors. One

presentation from Agri Stats spoke directly on this point, pointing out to industry

participants that they could not undertake such a detailed cost analysis among competitors

without Agri Stats auditing and standardizing the data:20




    19
       FTC Roundtable on Information Exchanges Between Competitors Under
Competition Law Organization for Economic Cooperation and Development, (Oct. 21,
2010) at 6, https://www.ftc.gov/sites/default/files/attachments/us-submissions-oecd-and-
other-international-competition-fora/1010informationexchanges.pdf.
    20
         Greg Bilbrey, Data Integrity, Slideshare.net (Sept. 21, 2015),
https://www.slideshare.net/trufflemedia/greg-bilbrey-data-integrity-using-records-for-
benchmarking-and-operations.


920586.1                                   22
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 25 of 95




            55.   Agri Stats stated that to ensure data contained in the reports was accurate, the

participants had to “agree on calculation and data collection procedures,” they must

“[d]etermine tolerance and outlier status and enforce,” they must “[h]ave an administrator

to compile the data and enforce procedures,” and most importantly, “[e]ach participant

has to commit.”21

            56.   In addition to these reports, Agri Stats’ account managers conducted on-site

live reviews to assist with report utilization and analysis.22 The information provided by

Agri Stats was so detailed that clients frequently requested the site visits by Agri Stats

employees to assist the co-conspirators in understanding the intricacies and implications of

the data. Agri Stats’ employees each possessed expertise in a specific area of production,



    21
           Id. (emphasis added).
    22
           Greg Bilbrey, Benchmarking and Tools to Maximize Profit, supra note 10.


920586.1                                     23
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 26 of 95




and the value added by their insights was as important to the producers as the data in the

reports. The fee for the visits fluctuated based on the size and other factors.

           57.   A common saying by Agri Stats is “you cannot produce your way to the top

of the page.” Rather, Agri Stats has stated that “the ultimate goal is increasing profitability

– not simply increasing level of production.”

           58.   In May 2015, a subsidiary of Agri Stats, Express Markets, announced that it

was adding its market analysis of pork to its product offerings in order to meet the broad

information and knowledge needs of its customers. Express Markets had provided its

extensive pricing reports to Broiler producers since 2003.23

           59.   By providing detailed production statistics by participants, Agri Stats

allowed each member of the conspiracy to monitor each other’s ongoing adherence to

agreed-upon plans for coordinated production limits. Critically, Agri Stats provided

forward-looking data that allowed the other Defendants to determine each other’s future

production in addition to their current production.

           60.   Agri Stats reports are organized by company and facility, but their names are

not listed in the reports. Nevertheless, while ostensibly anonymous, the reports contain

such detailed figures covering every aspect of pork production and sales that participants

can accurately identify the companies behind the metrics. For example, long-time industry




    23
     Steve Meyer, Paragon Economics Sold to Express Markets, National Hog Farmer,
May 26, 2015 (available at http://www.nationalhogfarmer.com/marketing/paragon-
economics-sold-express-markets).


920586.1                                   24
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 27 of 95




insiders are sufficiently familiar with each other to identify unique but recurring data points

for other companies, as well as identify the other companies by general metrics and size.

           61.   Moreover, Agri Stats knew that the anonymity of its system was

compromised by individuals who had gleaned knowledge of competitors’ identification

numbers, but reassigning numbers was an undertaking the company was not eager to

embark on.

           62.   Suppliers received as many as one dozen books of data at the end of each

quarter, augmented by smaller monthly update books featuring the latest year-to-date

information. Within these smaller monthly books, each supplier’s own rows of year-to-

date numbers were highlighted. In the front of each book, there were also markings

indicating whose numbers were inside the book. The front of the book also included

information indicating which other companies were represented in the data, though which

number represented each competitor was not revealed.

           63.   Agri Stats mailed the reports to customers. On occasion, Agri Stats shipped

a participant’s book to one of its competitors. At times, suppliers just kept their

competitors’ books for future reference, which as noted above revealed the identity of that

participant given that their numbers were highlighted by Agri Stats in their books.

           64.   Mobility within the meat production industries led to a situation where many

workers at most pork integrator operations knew the numbers of other regional facilities,

removing any anonymization of the data which existed. Agri Stats would hire industry

participants to work in its offices, and then they would return to the industry knowing each




920586.1                                   25
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 28 of 95




of the allegedly “anonymous” numbers. Those working at Agri Stats were aware of this

fact, but did nothing to address it.

           65.   Agri Stats’ critical importance for a collusive scheme in the pork industry

lies not only in the fact that it supplies the data necessary to coordinate production

limitations and manipulate prices, but also in its stabilizing power. Price fixing cartels are

subject to inherent instability in the absence of policing mechanisms, as each individual

member of the cartel may have incentive to cheat on other members of the cartel, for

example by ramping up pork production to capture higher prices as other cartel members

act to limit production. Agri Stats’ detailed production statistics serve as an indispensable

monitoring function, allowing each member of the cartel to police each other’s production

figures (which were trustworthy because they had been verified) for signs of cheating.

           66.   In a February 15, 2017, Bloomberg article relating to Agri Stats’ roles in the

Broiler industry, it was reported:

                 Peter Carstensen, a law professor at the University of
                 Wisconsin and former Justice Department antitrust lawyer who
                 has studied Agri Stats while researching the modern poultry
                 industry, casts the level of plant-by-plant detail in the
                 company’s reports as “unusual.” He explains that information-
                 sharing services in other industries tend to deal in averaged-out
                 aggregated data—for example, insurance rates in a given state.
                 Such services run afoul of antitrust law, he says, when they
                 offer projections or provide data so detailed that no competitor
                 would reasonably share it with another. Getting detailed
                 information is a particularly useful form of collusion,
                 Carstensen says, because it allows co-conspirators to make
                 sure they’re all following through on the agreement. “This is
                 one of the ways you do it. You make sure that your co-
                 conspirators have the kind of information that gives them




920586.1                                    26
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 29 of 95




                 confidence—so they can trust you, that you’re not cheating on
                 them,” he says. “That is what creates stability for a cartel.”24

D.         Defendants controlled the supply and production of pork in the United States,
           which allowed the scheme to succeed.

           67.   The class period was further characterized by the increased control over the

breeding, production, growing, and processing of pork by the Defendants through vertical

integration and the exclusive production contracts with hog farmers.

           68.   Vertical integration is so pervasive that Defendants are commonly called

pork or swine integrators by the industry, government, analysts, and academics. Vertical

integration allows the integrator Defendants to directly control the production and supply

of pork through their wholly owned and operated farms where the hogs are raised, fed, and

prepared for slaughter. Fully integrated companies have broad control over production

processes, and near-total operational discretion in deciding how much to produce and

when.

           69.   Under pork production contracts, “a contractor or integrator provides pigs or

breeding stock, feed, and other services to a producer or grower who manages the hogs at

his or her farm until animals are ready for market or transfer to other farms.” 25 This

arrangement essentially converts independent farmers into contract employees that

perform services for the pork integrator. The Defendants typically pay only fixed service



     24
      Christopher Leonard, Is the Chicken Industry Rigged, Bloomberg, (Feb. 15, 2017),
(available at https://www.bloomberg.com/news/features/2017-02-15/is-the-chicken-
industry-rigged) (emphasis added).
     25
      Allen Harper, Hog Production Contracts: The Grower-Integrator Relationship,
Virginia Cooperative, Virginia Cooperative Extension (2009).


920586.1                                    27
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 30 of 95




fees to the farmers, who bear the investment costs of the hog-raising facilities. The pork

integrators (i.e., Defendants) typically retain ownership of the hogs and set the terms for

how they are raised, allowing them to further control the supply of the pork on the market.

The prevalence and use of contracts for hog production by Defendants increased

significantly during the course of the conspiracy. By 2017 it was reported that there were

only a small handful of independent producers who sell any hogs to the open market for

transparency as far as bid prices.

           70.   Pork production starts at the farrowing stage—which is the term used to

describe a female hog giving birth. Female hogs used in the farrowing stage are called

sows. Sows will normally have anywhere from 11 to 13 pigs per litter. With a sow being

able to farrow close to three times a year, one sow can have around 36 piglets in one year.

After birth piglets grown for meat consumption are moved to a nursery for about six to

eight weeks or until the pig weighs upwards of 50 pounds. At the last stage of production,

the pigs will spend around 16 weeks in a finishing barn, reaching a final weight of over

250 pounds. After the pigs reach their final weight, they are sent to a packing plant to be

harvested. Due to the nature of the pork production cycle, the reduction of sows—i.e.

farrowing hogs—has a significant impact on the supply of pork.

           71.   The following diagram shows the path for pork raised for meat consumption

from birth through sale to consumers:




920586.1                                  28
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 31 of 95




                         Figure 1: Value Chain of U.S. Pork Market




           72.   Under economic theory, vertical integration can have anticompetitive effects

because there are fewer firms competing at all levels, which renders it easier to collude on

price.

           73.   During the class period Defendant Smithfield has the distinction of being the

largest producer and processer of pork in the United States. In 2014, Smithfield had

approximately 500 company-owned farms and approximately 2,190 contract farms in the

United States. Smithfield described its arrangement with contract farms as follows:

                 Under our contract farm arrangements, contract farmers
                 provide the initial facility investment, labor and frontline
                 management in exchange for fixed service fees to raise hogs
                 produced from our breeding stock under agreements typically
                 ranging between five and ten years. We retain ownership of the
                 hogs raised by our contract farmers. In 2014, approximately




920586.1                                   29
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 32 of 95




                  76% of Smithfield’s hogs produced in the U.S. were finished
                  on contract farms.26

            74.   In 2009, Seaboard raised approximately 75% of the hogs processed at its

Guymon, Oklahoma plant with the remaining hog requirements purchased primarily under

contracts from independent producers.27 In its 2017 SEC 10-K report, Defendant Seaboard

Corporation states that it raises “over five million hogs annually primarily at facilities

owned by Seaboard or at facilities owned and operated by third parties with whom

Seaboard has grower contracts.”28

            75.   Defendant Clemens Food Group touts its vertical coordination on its website

stating that, “Our vertically-coordinated company directly oversees the entire production

chain, from the farm all the way to our retail and foodservice customers.” 29 A key part of

Clemens’ vertical coordination efforts includes utilizing a hog procurement and production

subsidiary, Country View Family Farms, which manages a network of 250 farms raising

hogs under contract throughout Indiana, New York, Ohio, and Pennsylvania.30

            76.   As to JBS USAJBS Foods stated in its 2014 annual report, “The meat

production of JBS Foods is vertically integrated, whereby the company produces 100% of

its poultry supply and 95% of its pork supply. This provides it with greater control over the


    26
           Smithfield Foods Annual Report, at p. 27 (2014).
    27
           2009 Seaboard Annual Report, at p. 11.
    28
           Seaboard Corporation Annual Report, at p. 2 (2017).
    29
      See Clemens Food Group, Vertically Integrated Purposefully Coordinated (available
at http://www.clemensfoodgroup.com/our-company/vertically-coordinated).
    30
       See id.; see also The Clemens Family Corporation Companies (available at
http://www.clemensfamilycorp.com/pages/companies.aspx).


920586.1                                    30
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 33 of 95




health and nutrition conditions of the animals, ensuring quality, food safety and efficiency

in the production and cost of its products.” Furthermore, a key aspect of JBS’ purchase of

its predecessor in interest, Cargill, in 2015 was that it allowed JBS to exercise greater

control over the production of hogs, by acquiring four hog farms and two packing plants

operated by Cargill.

           77.   Triumph was created with vertical integration in mind as it is owned by five

of the largest pork producers in the U.S.— Christiansen Farms, The Hanor Company, New

Fashion Pork, TriOak Foods, and Eichelberger Farms—as well as Allied Producer’s

Cooperative, a group of producers in Iowa, Nebraska, Kansas, and Minnesota. The

relationship with these owner producers allows Triumph to control the pork production

process from start to finish.

           78.   As Defendant Tyson stated in its 2009 10K Report, “The majority of our live

hog supply is obtained through various procurement relationships with independent

producers.” As set forth above, these procurement contracts are controlled and dictated by

Tyson which exercises tremendous market power over hog formers. Additionally, Tyson

raises a number of weanling swine to sell to independent finishers and supply a minimal

amount of live swine for its processing needs.

           79.   Defendant Indiana Packers states on its website, “We’re a fully integrated

pork company operating entirely within the heart of the Midwest, so our team members

can better partner with our surrounding farm neighbors to produce the freshest, highest-




920586.1                                   31
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 34 of 95




quality products.”31 “With our Midwest family-farm sourcing, pork-exclusive expertise

and vertically integrated operation, it’s no wonder customers from all sectors of the food

industry trust Indiana Packers to be their primary pork supplier.”32

            80.   Hormel is a vertically integrated company with control over live hog

operations as well as pork processing and production facilities. As Hormel stated in its

2009 annual report that, “[t]he live hog industry has evolved to very large, vertically

integrated, year-round confinement operations operating under long-term supply

agreements.” Accordingly, Hormel “uses long-term supply contracts to ensure a stable

supply of raw materials while minimizing extreme fluctuations in costs over the long term”

accounting for 93% of the hogs purchased by Hormel in 2009.

            81.   Each of the Defendants further controls the manner in which pork is

processed and has the ability to restrict and reduce supply through a number of means

including capacity reductions, controlling slaughter rates, and exports. Defendants

including Smithfield, Clemens, Tyson, Hormel, Indiana Packers, Seaboard, Triumph, and

JBS sell packaged pork under various name brands.

E.          The level of concentration in the pork industry was optimal for Defendants’
            collusive scheme.

            82.   The United States Department of Agriculture (“USDA”) has stated that high

levels of market concentration allow the largest participants to extract more of the




     31
           https://indianapackerscorp.com/ (viewed on August 27, 2019).
     32
           Id.


920586.1                                    32
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 35 of 95




economic value from food transactions, but “consumers typically bear the burden, paying

higher prices for goods of lower quality.”33

           83.   The hog integration sector is horizontally concentrated (only a few

companies buy, slaughter, and process the majority of hogs) and vertically integrated (pork

packers have tight contractual relationships with hog producers throughout all stages of

production). Meatpacking concentration levels are among the highest of any industry in the

United States, and well above levels generally considered to elicit non-competitive

behavior and result in adverse economic performance.

           84.   Prior to and in the beginning of the Class Period, the pork industry underwent

a period of unprecedented concentration, resulting in a small number of pork integrators

controlling a large amount of market share. Between 1988 and 2015, the top four pork

integrators (Smithfield, Tyson, JBS, and Hormel) increased their market share from 34

percent in 1988 to just under 70 percent by 2015. As shown in Figure 2 below, the top eight

integrators had market share of well over 80 percent for the entire Class Period:




    33
       John King (USDA), Concentration and Technology in Agricultural Input Industries,
at p. 2 (March 2001).


920586.1                                    33
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 36 of 95




                 Figure 2: Market Share of Top 8 Pork Integrators 1991 to 2017




           85.     In July 2015, JBS USA announced it would acquire Cargill’s pork business

for $1.45 billion. The acquisition joined the third and fourth largest pork packing

companies to surpass Tyson and became the second largest hog processor in the United

States, behind only Smithfield. As noted above, the acquisition allowed JBS to exercise

greater control over the production of pork, by acquiring four hog farms and two packing

plants operated by Cargill.

           86.     The acquisition was completed in October 2015 and resulted in further

consolidation in the industry. The resulting pork business had pro forma net revenue of

approximately $6.3 billion, and a processing capacity of about 90,000 hogs per day and



920586.1                                    34
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 37 of 95




two million pounds of bacon per week. After the acquisition closed, the new JBS-Cargill

entity was twice as large as the next largest pork integrator (Hormel) and four times larger

than the fifth and sixth largest firms (Triumph and Seaboard, each with under five percent

of the national slaughter capacity).

           87.   The following timeline summarizes notable mergers between pork

integrators since 1995 which led to an increased market concentration:

                       Figure 3: History of Mergers and Acquisitions




           88.   As shown in Figure 4 below, by 2016, the top six pork processors comprised

82% of the total market. On their own, it would be difficult for any of these supposed

competitors to exercise market power. But acting as a whole to manipulate the price of

pork products, the combined market share of the six largest Defendants translates into an

HHI34 of 6724 (ignoring other pork processors that comprise the other 18% of the market),

which is well above the threshold for highly-concentrated markets. In other words, if

Defendants colluded with one another to restrict the supply of pork in the market, as alleged



    34
      “HHI” means the Herfindahl-Hirschman Index, a measure of market concentration
used by the Department of Justice. See https://www.justice.gov/atr/herfindahl-hirschman-
index. A HHI value of 1,500 to 2,500 suggests a market is moderately concentrated. A HHI
in excess of 2,500 points suggests a market is highly concentrated.


920586.1                                  35
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 38 of 95




herein, the resulting market concentration of such concerted action gave them more than

sufficient power to control the pork market. Even without combining the largest six

Defendants, the pork industry has a “moderately concentrated” HHI of 1532.

                       Figure 4: 2016 Pork Processing Market Shares35

                      Company          Share HHI - Independent HHI - Collusion
                      Smithfield        26%                676
                      JBS               20%                400
                      Tyson             18%                324
                                                                          6724
                      Hormel Foods       8%                 64
                      Triumph Foods      5%                 25
                      Seaboard Farms     5%                 25
                      Others            18%                 18              18

                      Total            100%              1532            6742

            89.   The concentration level in the pork integration industry was optimal for

collusion. WH Group Limited, the parent company of Smithfield, characterized the U.S.

pork integration industry as “relatively mature and concentrated.”36 Both of these factors –

maturity and concentration – make an industry more susceptible to collusion.

            90.   The level of concentration in the pork integration industry therefore rested in

an ideal zone for collusion. Because the industry was dominated by a relative handful of

integrators, it was feasible to manipulate price through an agreement among the relatively

few dominant players, whose market power greatly simplified the organizational

complexity of the price-fixing agreement. Further, because the largest integrators were




    35
     Ken Sullivan, Globalization of Agriculture: An Ownership and Market Perspective
(March 7, 2017).
    36
           WH Group Interim Report, at p. 5 (2017).


920586.1                                      36
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 39 of 95




incapable of independently controlling prices on their own, such an agreement was

necessary to inflate prices.

           91.   Concentration of the industry is also beneficial to the procurement of hogs

by the pork processors. In some regions, consolidation has resulted in cases where only

one pork processor is left to buy hogs from independent farmers, leaving the farmers with

no leverage when negotiating terms with the pork processors.37

           92.   In addition to market concentration, market stability is consistent with an

agreement to fix prices, as is greater instability before or after a conspiracy. The following

chart shows not only that the Defendants’ collective share of the market was high

throughout the class period, but also that each individual defendant’s market share was

largely stable throughout:




     Wise, Timothy A and Sarah E. Trist, “Buyer Power in U.S. Hog Markets: A Critical
    37

Review of the Literature”, Global Development and Environment Institute, Working Paper
No. 10-04, August 2010, at pp. 3 and 11.


920586.1                                   37
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 40 of 95




                 Figure 5: Market Concentration and Market Share Stability –
                         U.S. Market Share by Hog Slaughter Capacity




           93.      The following figure shows that there was a substantial drop in market share

volatility during the class period:




920586.1                                      38
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 41 of 95




     Figure 6: Standard Deviation of Combined Defendant Market Share Pre- and
                                 Within Class Period




           94.   Large barriers to entry kept potential competitors out of the pork integration

industry. New entry into pork processing is costly and time consuming. Construction of a

large-scale slaughter facility would take hundreds of millions of dollars and the additional

planning, design and permitting costs are substantial. In 2012, it cost Cargill $25 million

just to expand an existing facility. Building a facility from scratch would be considerably

more, totaling hundreds of millions of dollars.38



    38
      Anticompetitive Impacts of Proposed JBS-Cargill Pork Acquisition, at 4 (White
Paper) at p. 7.


920586.1                                    39
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 42 of 95




           95.   The prevalence of contracts in the market for hogs also serves as a barrier to

entry. Most of the hogs produced in the U.S. are sold under a multi-year contract, typically

to one of the Defendants. And in other situations, the processor owns the hog from farrow

to finish. Even if a market entrant were able to outlay capital for the production of a new

processing facility, it would have trouble finding enough hogs to operate that facility

profitably.39

F.         The inelastic demand for, and homogeneity of, pork products facilitated
           collusion

           96.   Markets with a highly inelastic demand can help facilitate collusion as

manufacturers have the ability to raise prices without a significant impact on quantity

demanded. Price elasticity of demand (PED) is a measure used to quantify the degree to

which quantity demand for a good or service changes with respect to price.40 A PED value

between 0 and -1 indicates there is inelastic demand for the good or service, i.e., a 1 percent

increase in price induces a less than 1 percent decrease in quantity demanded. The average

PED estimate for the pork market was -0.64 – meaning the demand for pork is inelastic.




     39
     Timothy A. Wise and Sarah E. Trist, Buyer Power in U.S. Hog Markets: A Critical
Review of the Literature, Global Development and Environment Institute, Working Paper
No. 10-04 (August 2010), at p. 12.
     40
      See, e.g., Jeffrey M. Perloff, Microeconomics with Calculus, 28-31 (2d Ed.);
Patrick L. Anderson, et al., Price Elasticity of Demand (Nov. 13, 1997),
https://scholar.harvard.edu/files/alada/files/price_elasticity_of_demand_handout.pdf;
Gadi Fibich, Arieh Gavious & Oded Lowengart, The Dynamics of Price Elasticity of
Demand in the Presence of Reference Price Effects, 33 J. Academy Mktg. Science 66-78
(2005), available at http://www.math.tau.ac.il/~fibich/Manuscripts/elasticity_JAMS.pdf.


920586.1                                    40
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 43 of 95




           97.   Collusion becomes easier for manufacturers of a homogenous product when

prices are the only way in which products can be differentiated from one another. Pork

loins, bacon, ribs, and other pork products are produced on a commercial scale and sold in

supermarkets. For example, as alleged above, pork loin from Tyson and Smithfield is

virtually indistinguishable, with similar nutritional values, branding and packaging. These

products are highly substitutable, making it easier for competing firms to reach an

agreement on a common pricing structure.41

G.         Defendants took advantage of numerous opportunities to collude.

           98.   Defendants are members of several industry trade associations and other

forums, which they used to facilitate their conspiratorial conduct. Pork producers have

many annual and other events through which they can communicate with one another in

person, and Defendants’ CEOs and top-level executives regularly attend these events.

           99.   All pork producers and importers in the United States participate in a

legislatively-mandated “Pork Checkoff,” under which they pay an assessment when pigs

are sold or pigs or imported into the United States. The money is used for programs to

increase pork sales and exports, for research, and for producer and consumer education



     41
      See Preventing and Detecting Bid Rigging, Price Fixing, and Market Allocation in
Post-Disaster Rebuilding Projects, The United States Department of Justice,
https://www.justice.gov/atr/preventing-and-detecting-bid-rigging-price-fixing-and-
market-allocation-post-disaster-rebuilding (“The more standardized a product is, the
easier it is for competing firms to reach agreement on a common price structure. It is
much harder to agree on other forms of competition, such as design, features, quality, or
service.”) (last visited Aug. 16, 2018); Marc Ivaldi et al., The Economics of Tacit
Collusion (March 2003), http://ec.europa.eu/competition/mergers/studies_reports/
the_economics_of_tacit_collusion_en.pdf.


920586.1                                 41
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 44 of 95




programs; funds cannot be used for lobbying or to influence government policy. The

assessment amount and the amount to be returned to state pork associations for local

programs is set annually by the Pork Act Delegate Body, which meets during the National

Pork Producers Council’s annual Pork Industry Forum. States are represented in the

Delegate Body in proportion to their level of hog production, and each state is eligible to

elect at least two Delegates. Executives from several integrator Defendants have served as

Pork Act Delegates.

           100.   The Pork Act Delegates also elect a 15-member National Pork Board (“Pork

Board”), whose members are officially appointed by the U.S. Secretary of Agriculture. The

Pork Board works with Pork Checkoff staff to ensure collection and distribution of Pork

Checkoff funds. Pork Board meetings have occurred in conjunction with a number of the

important annual trade association meetings described below, including the National Pork

Producers Council Pork Industry Forum, the National Pork Industry Conference, and the

World Pork Expo. Executives from several pork integrator Defendants have served as

members of the Pork Board. For example, at least three executives associated with

Smithfield Foods (Conley Nelson, Chris Hodges, and Michael Skahill) have served on the

National Pork Board or its staff. Skahill is the Pork Board’s current Treasurer.

           101.   According to its website, “[t]he National Pork Producers Council [“NPPC”],

which consists of 42 affiliated state associations, is the global voice for the U.S. pork

industry, enhancing opportunities for the success of pork producers and other industry

stakeholders by establishing the pork industry as a consistent and responsible supplier of

high-quality pork to domestic and world markets.” Executives from the pork integrator


920586.1                                   42
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 45 of 95




Defendants have served on the NPPC Board of Directors during the Class Period,

including: Cory Bollum of Hormel Foods, Don Butler of Smithfield Foods/Murphy-Brown

LLC, Chris Hodges of Smithfield Foods, and Todd Neff of Tyson Fresh Meats.

           102.   NPPC conducts its annual business meeting and election of officers and

directors during its “National Pork Industry Forum” typically held in early March each

year. NPPC advertises the National Pork Industry Forum as an opportunity for networking,

as well as attending educational sessions. The event includes a candidate meet and greet,

state caucuses, meals and receptions, and delegate sessions.

           103.   In addition to its annual National Pork Industry Forum, NPPC sponsors many

other programs that have provided ample opportunities for defendants to meet with each

other in person, including:

                       The annual “World Pork Expo” at the Iowa State Fairgrounds

                        advertised as the “world’s largest pork-specific trade show.” It

                        includes exhibits, seminars (including market outlook presentations),

                        a golf tournament, and pre-show tours of industry-related

                        organizations (including tours of producer farms). The National Pork

                        Board has conducted its annual meeting to elect new officers during

                        the World Pork Expo.

                       Legislative Action conferences each spring and fall in Washington

                        DC.




920586.1                                   43
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 46 of 95




                       A public policy Leadership Institute, which brings small groups of

                        pork industry representatives together for a “comprehensive” training

                        program “designed to develop future leaders for the pork industry.”

           104.   The National Pork Industry Conference (“NPIC”) has taken place in the

Wisconsin Dells each July since 2010 (and in the Ozarks before that). Descriptions on the

conference website have said that NPIC “is the largest annual conference in the US that is

held for the swine industry,” and has had 750 to “over 900” attendees each year,

representing “the Top 150 pork production systems in North America.” After the 2009

conference, Mark Greenwood, a Senior VP at lender AgStar, wrote in “Hog Farmer” that

the swine industry must reduce sow numbers by at least 300,000 to 500,000 and urged “the

larger production systems” to “follow Smithfield’s and Tysons’ lead on reducing sow

numbers.”42 In July 2010, the Pork Checkoff website noted that pork producers had

responded to lower prices in 2009 “by reducing the size of the national herd” and “[a]s a

result, prices have rebounded.”43 The website for the 2016 NPIC conference emphasized

networking opportunities and promoted the “Focusing on Markets” session “led by

industry economic experts.” Seaboard Foods and Smithfield Foods are among the

integrator Defendants whose executives have been session presenters at NPIC.




    42
      Mr. Greenwood was also a presenter at the 2018 NPIC, discussing swine operation
financials.
    43
     See National Pork Board to meet during National Pork Industry Conference, Pork
Checkoff (July 8, 2010) (available at https://www.pork.org/news/national-pork-board-
meet-national-pork-industry-conference/).


920586.1                                   44
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 47 of 95




           105.   Upon information and belief, CEOs and top level executives from

Defendants attending NPIC and NPPC events discuss topics with one another relating to

pricing, production, and other non-public, proprietary information in a number of informal

settings. These regular, informal, and in-person opportunities to discuss pricing and

production in the pork industry give CEOs and top level executives comfort that their

competitors remain committed to a plan to artificially restrict pork production.

           106.   In addition to the large pork industry associations, there are smaller pork

clubs that permit members to meet regularly and privately discuss competitive issues. For

example, the 21st Century Pork Club, founded in 1997 by former NPPC executive Larry

Graham, meets twice a year. A March 2011 AgriMarketing article about the club states that

it consisted of “60 industry stake holders” and that since its inception, the club’s two rules

have been “nothing that was said in the meeting was to be repeated outside the group, with

a name attached” and members will be dismissed from the group if they miss two meetings

in a row without a valid reason.

           107.   Defendants were able to meet with each other not only at pork-specific

events, but also at the many meetings, conferences, conventions, and expositions sponsored

by the North American Meat Institute (“NAMI”), its predecessor, the American Meat

Institute (“AMI”), and other organizations.

           108.   Until its 2015 merger into NAMI, AMI described itself as “the nation’s oldest

and largest meat and poultry trade association.” AMI’s website routinely boasted that

AMI’s Packer and Processor Members “cover 95 percent of the nation’s beef, pork, lamb

and veal products and 70 percent of the nation’s turkey products” and touted the “excellent


920586.1                                    45
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 48 of 95




networking and information-sharing opportunities for members of the industry” provided

by AMI’s “many meetings and educational seminars.”

           109.   NAMI was formed in 2015 by merging the AMI and the North American

Meat Association. The NAMI website contains similar information, stating that NAMI is

“a national trade association that represents companies that process 95 percent of red meat

and 70 percent of turkey products in the US and their suppliers throughout America,” and

its “many meetings and educational seminars … provide excellent networking and

information-sharing opportunities for members of the industry.”

           110.   All of the Defendants (or their closely-affiliated companies) have been

members of AMI and then NAMI throughout the Class Period. Executives from the pork

integrator Defendants have served on the AMI and NAMI Board of Directors during the

Class Period, including:

                  a.    Mark Campbell and Rick Hoffman of Triumph Foods;

                  b.    Doug Clemens and Phil Clemens of Clemens Family Corporation;

                  c.    Tom Hayes, Jim Lochner, Mike Larson, and Sara Lilygren of Tyson

                        Foods, Inc., as well as Greg Schweitzer of Sara Lee/Hillshire Brands

                        (later acquired by Tyson Foods);

                  d.    Michael Skahill, Keira Lombardo, Robert “Bo” Manly, and Larry

                        Pope of Smithfield Foods, Inc.;

                  e.    Gary Louis, Rod Brenneman and Terry Holton of Seaboard Foods;

                  f.    Andre Nogueira, Wesley Batista, Martin Dooley, Rich Vesta, and Bill

                        Rupp of JBS USA;


920586.1                                   46
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 49 of 95




                  g.    Jim Snee, Stephen Binder and Jeffrey Ettinger of Hormel Foods

                        Corporation; and

                  h.    Gary Jacobson and Russ Yearwood of Indiana Packers Corporation.

           111.   Almost all of these executives also serve or have served on the 25-person

AMI and/or NAMI Executive Committees, and several have been among the five officers

of AMI or NAMI, including Sara Lilygren, of Tyson Foods, Jeffrey Ettinger of Hormel

Foods Corporation, and Rod Brenneman of Seaboard Foods.

           112.   Throughout the Class Period, AMI (through 2014) or its offshoot the

American Meat Institute Foundation (since 2015) has co-sponsored (with the Food

Marketing Institute) the industry’s “Annual Meat Conference.” The conference website

describes the conference as “a complete education and networking experience.” Many of

the Defendants’ high-level executives attend the conference. For example, registered

attendees in 2012 included Steven Binder, then the Executive VP President Hormel

Business Units of Hormel Foods Corporation, as well as eight other Hormel executives;

eight executives from JBS USA; Donnie Smith, then CEO of Tyson Foods, along with

twelve other Tyson executives; Chris Hodges, then Senior Vice President, Smithfield

Foods and ten additional Smithfield Foods executives; and Blair Snyder and Brian Snyder,

Chairman of the Board and President, respectively, of Agri Stats.

           113.   Throughout the Class Period, the Annual Meat Conference has included a

plenary session focused on how economic issues affect the meat industry, usually entitled

“The Economy and Its Impact on Your Business” or “Market Outlook for Meat and

Poultry.” All (or almost all) of these sessions included a presentation on the pork industry


920586.1                                   47
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 50 of 95




by Steve Meyer, Ph.D., President of Paragon Economics until 2015 and then Vice President

of Pork Analysis at Express Markets, Inc. (a subsidiary of Agri Stats, Inc.) through 2017.

The description for the 2015 presentation stated that it would address “how you may need

to adapt your business because of consumer spending trends, unemployment rates and

industry capacity.” (emphasis added.) The descriptions of the 2016, 2017, and 2018

sessions were virtually identical to each other: “The economic impact of changing meat,

poultry, and livestock supply and demand conditions provide challenges for producers and

retailers alike. This session will take an in-depth look at the beef, pork, and poultry markets

and explore how factors including weather, animal health, and changing export markets

continue to impact domestic availability and prices. Understanding changes in consumer

spending and worldwide economic trends, combined with the knowledge of what to expect

in livestock markets, will help you prepare for the coming years.” The 2016 through 2018

plenary sessions were followed by a “Market Outlook Extended Q&A” for small group

discussion.

           114.   Until 2016, first AMI and then NAMI held an Annual Meeting and Outlook

Conference each fall. The NAMI website described the 2015 annual meeting as “a great

networking and educational opportunity for the entire industry” with presentations on “key

industry topics . . . as well as outlook sessions for 2016 and the member to member

education provided by Issues Answers Action.” Scheduled presenters at the Annual

Meeting and Outlook Conference have included Cameron Bruett of JBS in 2015, and Phil

Clemens of The Clemens Family Corporation in 2016.




920586.1                                  48
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 51 of 95




           115.   For years, NAMI also sponsored an annual “Meat Industry Management

Conference.” NAMI promoted the 2015 meeting as focusing on a variety of topics,

including “economics, and general business topics” and an “always popular Answers

Actions session” that “provides structured member interaction on a variety of issues and

topics.” The NAMI board met during the 2015 Management Conference.

           116.   In April 2017, NAMI replaced the Annual Meeting and Outlook Conference

and the Meat Industry Management Conference with an annual “Meat Industry Summit.”

In addition to education sessions, the summit has included, “networking opportunities and

social events,” including a golf tournament, receptions, and an Issues, Answers, Actions

Breakfast, as well as the annual Board of Directors meeting and what one publication

described as “closed door committee meetings to discuss policies and association

business.” The 2017 Summit included a presentation by John Nalivka of Sterling

Marketing entitled “Economic Outlook for the Red Meat Industry,” described as an

“analysis of supply and demand and price forecasts” to “cover all aspects of the supply

chain, and help your business prepare for the years ahead.”

           117.   AMI sponsored the “International Meat, Poultry & Seafood Convention and

Exposition” in 2009, 2011, and 2012. In at least 2009 and 2011, AMI conducted its

business meeting during the Expo, electing members of its board of directors.

           118.   In January 2013, AMI’s International Meat, Poultry & Seafood Convention

and Exposition was integrated into the “International Production and Processing Expo”

(“IPPE”), co-produced by AMI and poultry and feed trade associations. Promotional

materials for the 2014 IPPE indicated that attendees included defendants Clemens Food


920586.1                                  49
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 52 of 95




Group, Hormel Foods, Hillshire Brands, JBS, Seaboard, Smithfield Foods, Triumph Foods,

and Tyson. After AMI’s 2015 merger into NAMI, NAMI became (and still is) a presenting

sponsor, along with the poultry and feed trade associations.

H.         Defendants implemented capacity and supply restraints during the Class
           Period.

           1.     Summary of Defendants’ Conspiratorial Supply Restraints

           119.   In the years leading up to the conspiracy period the steady expansion of pork

production was virtually a given. As one industry commentator reported in 2007, “Some

things you can just take to the bank. Sow herd expansion among the Pork Powerhouses

would fall into that category – even in the face of the biggest run-up in feed prices in

history.”44

           120.   This historical trend changed markedly during the conspiracy period. As

demonstrated in Figure 7 below, at several points during the Class Period, the pork

integrators changed their behavior and acted in a concerted way to decrease supply. In

2009, 2010, and again in 2013, the pork industry cut production.45 (The production dip in

2014 reflected the adverse impacts from the deadly pig disease, porcine epidemic diarrhea

virus, which took place in the spring and summer of 2014.) These production decreases




     44
           Freese, Betsy, Pork Powerhouses 2007: Run-Up In Rations (Oct. 3, 2007).
      See U.S. I.T.C. Office of Industries, “Pork and Swine industry and Trade Summary”
     45

at 2 (Pub. ITS-11 Oct. 2014) (noting that slaughter capacity utilization generally declined
between 2008 and 2013); id. at 19 (stating that the number of animals kept for breeding by
U.S. swine producers declined between 2008-2010, and that in 2012 the number of animals
kept for breeding remained 5 percent below the level observed in 2008).


920586.1                                    50
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 53 of 95




marked a drastic change from the period prior to the conspiracy from 2000 through 2009,

in which pork supply was stable and steadily increasing on a yearly basis.

           Figure 7: U.S. Annual Commercial Hog Production by Weight, 2000-2017




            121.   These supply cuts were coordinated, historic and unprecedented. For

example, in September 2009, Pork Powerhouses—which publishes reports and articles

relating to pork production—published an article entitled “Big Boys Cut Back” and

reported that “[f]or the first time since the annual Pork Powerhouses ranking was launched

in 1994, the nation's largest 25 producers have cut sow numbers. These companies report

200,000 fewer sows than one year ago, a drop of 6.4%.46

            122.   At the same time, pork producers were further reducing domestic supply by

devoting more and more production exports to overseas markets. The U.S. has been a net



    46
           Freese, Betsy, Pork Powerhouses 2009: Big Boys Cut Back (Sep. 14, 2009).


920586.1                                    51
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 54 of 95




exporter of pork products for a long time, but those exports have comprised a much larger

share of total production in the past ten years. As shown in Figure 8 below, less than ten

percent of U.S. pork production was exported in 2000. By 2011, more than twenty percent

was being exported. Sending production overseas is another way in which Defendants were

able to reduce the supply available to U.S. markets, thereby driving up prices. Notably, a

2017 analysis found that for every $1 million of pork exported out of the U.S., the live

value in U.S. hogs climbs by 20 cents per cwt. In other words, selling pork on the global

market added $50.20 to the market price of hogs. The significant expansion in exports

meant that increases in hog production by Defendants did not result in an increase in the

supply of pork products in the United States market.




920586.1                                52
                                            CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 55 of 95




                                            Figure 8: U.S. Pork Exports as a Percent of Total Production, 2000-2017

                                            25%
   Exports as Percent of Total Production




                                            20%




                                            15%




                                            10%




                                            5%




                                            0%
                                                   2000                  2005                 2010                   2015
                                                                                       year

                                            123.     As part of their acts and conduct in furtherance of the conspiracy, each of the

Defendants participated in these supply restraints. While the conspiracy was self-

concealing in nature, the limited publicly available sources of information available

regarding Defendants’ supply decisions evidences these supply constraints. These supply

restrictions included, but were not limited to, the conduct described herein.

                                                     a.     Smithfield

                                            124.     In 2008 Smithfield stopped making traditional production increases and

instead cut its number of sows, reporting that ,“We are focused on reducing the number of

pigs that come off sow farms, and making sure the ones that come off are worthy of the



920586.1                                                                        53
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 56 of 95




investment in feed.”47 In 2009, Smithfield confirmed publicly that it had already reduced

the size of its U.S. herd by two million market hogs annually, and it was initiating a further

reduction of 3% of its U.S. sow herd, effective immediately. Smithfield made additional

production cuts in 2010, reporting a cut in its domestic sow herd by 5% (about 45,000

sows). In 2011, despite increasing margins, Smithfield continued to downsize its sow herd,

and vowed publicly that it did not intend to increase capacity.

            125.   Smithfield also focused an increasing portion of its production on exports,

with its sister company in China, Shuanghui Development, opening a plant in China in

2015 to turn pork sourced from Smithfield in the U.S. into packaged meat with the

Smithfield label.

                   b.    Tyson

            126.   Between 2008 and 2009 Tyson cut its sows by over 25%, marking a

significant reduction. In 2010 Tyson reported a 3.3% decrease in its Pork sales volume

coupled with increased export sales, which also accounted for a decrease in its capacity

utilization rate. In 2013 Tyson reported a 3.6% decrease in sales volume and decrease its

capacity utilization in an effort to “balance[ ] our supply with customer demand.”

                   c.    JBS/Cargill

            127.   In 2011 JBS USA reported that in the prior two years its pork export volume

had grown from 15% to 20% of total production at JBS USA. Also, after acquiring Cargill’s

hog production facilities, JBS reduced the number of sows it produced in 2016 despite



    47
           Freese, Betsy Pork Powerhouses 2008: The Big Squeeze (Sep. 4, 2008).


920586.1                                     54
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 57 of 95




increased consumer demand. This production restriction had the intended effect: according

to JBS’s 2016 annual report, “pork prices were 18% higher year on year at the end of 2016,

on the back of increased demand and output restrictions.”

                  d.    Hormel

           128.   Hormel’s production statistics show that it cut its number of sows in 2008

and maintained such reduced production throughout the class period. Hormel further

reported tonnage reductions for its pork operations in its 2009 Annual Report. This is

consistent with Hormel CEO’s statement in January 2009 that Hormel would “certainly

look for opportunities particularly in January where we could reduce the numbers [of hogs]

that we had going through.”48 Hormel also reported lower sales of pork products in 2013.

In June 2014, it was reported that Hormel reduced its capacity at its Los Angeles plant by

500 head per day. Hormel reported strong earnings from its pork exports in 2011.

                  e.    Seaboard

           129.   Throughout the class period, including in 2010 and 2011, Seaboard placed

an increasing emphasis on exports and increased its volume of export sales to foreign

markets.49 Seaboard dedicated several employees to international sales and exports.

Seaboard also reduced supply in 2013 and, once again, these reductions had their intended




    48
           Q1 2009 Hormel Foods Corporation Earnings Call Transcript (Feb. 19, 2009).
    49
      See e.g. 2010 Seaboard Annual Report (“export volumes increased particularly to
our higher valued markets in the Far East while domestic volumes nearly kept pace with
2009.”); 2011 Seaboard Annual Report (“Exports of US pork were up 23% to an all-time
record as demand from the usual countries remained strong and the US continued its role
as the main supplier.”).


920586.1                                   55
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 58 of 95




effect—higher pork prices. Despite having an almost identical capacity as in 2012, it

reported in 2013 that it had “lower sales volume of pork products in the domestic market”

which resulted in “higher prices for pork products sold in the domestic market.”50

Moreover, in 2017 Seaboard announced that it would delay establishing a second shift at

the Seaboard Triumph Foods processing facility.

                   f.    Triumph

            130.   In September 2008, Christensen Farms, a member of Triumph Foods,

reported that it had cut back 11,000 sows. In 2009 Triumph reported substantial cutbacks

of approximately 24,500 sows, representing over 6% of its sow herd, contributing to

historic production restraints in the pork industry. Additionally, Triumph focused its

production on exports, and stated on its website that it is one of the top exporters of pork

products worldwide. These exports constituted a significant portion of its production

throughout the class period, and reduced or otherwise limited Triumph’s production in the

United States.

                   g.    Clemens

            131.   In 2011 Clemens reported production of 1,000 fewer sows through its

subsidiary Hatfield Quality Meats. Furthermore, in 2014 Defendant Clemens had a

competitive advantage over many pork producers, in that it had few PEDv infected pigs.

But contrary to what one would expect to see in a competitive market, Clemens did not




    50
           See Seaboard 2013 Annual Report.


920586.1                                  56
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 59 of 95




utilize its advantage and refused to increase its market share when it clearly had substantial

market incentives to do so.

                  h.    Indiana Packers

           132.   Indiana Packers is a private company with limited information available to

the public regarding its production statistics. Nevertheless, in 2012 Indiana Packers

indicated that it expected to reduce the number of hogs or pounds of pork processed at its

facilities ostensibly because of high corn prices.

           2.     Timeline of the Conspiracy

           133.   As set forth herein, each of the aforementioned supply reductions during the

class period were a departure from the integrator Defendants’ market behavior prior to the

conspiracy period. These supply restrictions involved a significant share of the Defendants’

annual production and are in contravention of Defendants’ individual economic self-

interest. These unprecedented supply restriction strategies were a part of a coordinated

antitrust conspiracy by competitors to reduce and restrict supply in order to artificially, fix,

raise, and stabilize the price of pork. While Defendants went to great lengths to maintain

the secrecy of their unlawful anticompetitive agreements, they disclosed certain of their

supply restriction efforts in public earnings calls and other sources. As with their use of

Agri Stats, Defendants exploited these public statements in order to communicate their

planned supply restrictions to their competitors in furtherance of the conspiracy, and

couched the public disclosures in pretext so as to conceal what was really occurring..

Although purchasers would not typically track and account for these statements,




920586.1                                    57
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 60 of 95




Defendants were, they have been unearth during the course of their investigation and are

summarized below.

            134.   Defendants’ conspiracy to restrict pork supply began in the last part of 2008.

That same month, Joe Szaloky, director of financial planning and analysis with Murphy-

Brown LLC, the production arm of Smithfield Foods, said “[w]e are focused on reducing

the number of pigs that come off sow farms, and making sure the ones that come off are

worthy of the investment in feed.”51

            135.   In October of 2008, Hormel CEO Jeffrey Ettinger confirmed during an

earnings call that he expected to see a 3% reduction in overall pork supply in 2009.52

            136.   During Hormel’s first quarter earnings call in January 2009, Mr. Ettinger

once again communicated that he expected supply to decrease in 2009. Hormel CFO Jody

Feragen confirmed that Hormel would “certainly look for opportunities particularly in

January where we could reduce the numbers that we had going through.”53

            137.   Throughout 2009, pork industry participants noted the need to follow the

supply restrictions imposed in the broiler industry. For instance, in February 2009, AgStar

VP Mark Greenwood called on U.S. Pork producers to follow the lead of the broiler and

dairy industries by reducing production, noting that the U.S. pork industry needed to reduce

the sow herd by 5-10%, which at the low end would mean reducing the nation’s sow herd

by 300,000 sows.


    51
           Freese, Betsy Pork Powerhouses 2008: The Big Squeeze (Sep. 4, 2008).
    52
           Q4 2008 Hormel Foods Corporation Earnings Call Transcript (Oct. 26, 2008).
    53
           Q1 2009 Hormel Foods Corporation Earnings Call Transcript (Feb. 19, 2009).


920586.1                                      58
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 61 of 95




           138.   In May 2009, Larry Pope, the CEO and President of Smithfield, stated:

                  In terms of chronology of how I say we proactively managed
                  this business, in February of last year--February of ‘08, not
                  February of ‘09--we made the decision with the over-supply
                  of livestock to take the leadership position and start reducing
                  our sow herds because we saw the overproduction and the
                  oversupplies of the hogs into the market, which was driving
                  our hog market down. We started a reduction of 50,000 sows
                  and 1 million of our 18 million pigs, we started taking out of
                  the system.54

           139.   In May 2009, Hormel confirmed that “[w]e see a contraction in the overall

supply of hogs for the year but not as much as we’d originally anticipated. And I would

expect that prices will be somewhat less than last year, but higher than what we’ve seen in

the first half of the year.”55

           140.   In June 2009, the CEO of Smithfield stated that the current cuts were not

enough and more were needed to “fix” the hog industry and that “[s]omebody else has got

to do something”:

                  One of the things that we’re doing is managing what you can
                  do and the 3% relates to one of our operations and it’s our --
                  I’ll tell you, it’s our Texas operation that sells pigs to seaboard.
                  Seaboard knows that. . . . That 3%, let me say that, our 3%
                  will not fix the hog industry. That part I’m confident of.
                  Somebody else has got to do something. We cut 13%. The first
                  10% didn’t fix it. I don’t think us going from 10 to 13 is going
                  to fix the hog business.56


    54
       Smithfield Foods at BMO Capital Markets Agriculture, Protein &
Fertilizer Conference – Final (May 13, 2009) (emphasis added).

     Q2 2009 Hormel Foods Corporation Earnings Conference Call – Final (May 21,
    55

2009).
     Q4 2009 Smithfield Foods Earnings Conference Call – Final (June 16, 2009)
    56

(emphasis added).


920586.1                                      59
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 62 of 95




            141.   In July 2009, Smithfield’s CEO went on to note in Smithfield’s annual report

in July 2009: “I strongly believe that the hog production industry has reached an inflection

point where, due to deep and extended losses, liquidation is now a recognized reality by

all in the industry. To date, Smithfield has already reduced the size of its U.S. herd by

two million market hogs annually, and we are initiating a further reduction of 3% of our

U.S. sow herd, effective immediately. This reduction, combined with the additional cuts

by our fellow producers should shrink supply to a point where the industry can return to

profitability. This liquidation is long overdue.” (Emphasis added).

            142.   In August of 2009, Tyson Foods, Inc. Chief Operating Officer, James

Lochner, confirmed:

                   Hog supplies will be down in Q4 year over year but still
                   adequate. We do expect to see liquidation accelerate and pork
                   production decrease into 2010 and beyond to improve
                   producer profitability. We will continue to watch forward hog
                   supplies to drive more exports, monitor demand, focus on cost,
                   mix, and pricing to generate revenue.57

Mr. Lochner continued, “Looking forward in the pork segment we will see a gradual

decline in hog supplies to the first half of our fiscal year with additional year over year

declines into Q3 and Q4.”58

            143.   Tyson 2009 10K Report further stated that, “We expect to see a gradual

decline in hog supplies through the first half of fiscal 2010, which will accelerate into the




    57
     Q3 2009 Tyson Foods, Inc. Earnings Conference Call (June 26, 2009) (emphasis
added).
    58
           Id.


920586.1                                     60
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 63 of 95




second half of fiscal 2010, resulting in industry slaughter slightly higher than 2007 (or

roughly 4% less than fiscal 2009).”59

            144.   In August of 2009, Wesley Mendonça Batista, CEO of JBS USA,

communicated the start of JBS USA’s participation in hog liquidation efforts. Mr. Batista

stated, “we are seeing the start, we are seeing some increase in—not increase, we are seeing

some more [hog] liquidation. So we think we will continue to see the margin in the

processing side strong this whole year. But in the pork producers, it will be a real challenge

for them, producers for, in the next quarters.”60

            145.   In September 2009, the CEO of Smithfield stated that he had conversations

with “sizable large producers” and that they would be doing some liquidation:



                   We can’t solve the problem. But the answer to that is yes, I
                   have had conversations with several sizable, more than
                   sizable large producers, in fact very large producers, and I
                   would tell you they are doing some liquidation. But again, I
                   don’t think they can solve it.

                   I think this industry has got to solve it collectively. I do believe
                   everyone is now looking, and when I’m talking to people who
                   are financially extremely strong and they are cutting back,
                   that’s got to be a statement about those people who are not
                   financially strong. But the answer is, yes, there are others
                   cutting back. We’re not the only one.61




    59
           See Tyson 2009 10K Report, at p. 20.
    60
           JBS 2008 Earnings Conference Call (August 13, 2009).
    61
     Event Brief of Q1 2010 Smithfield Foods Earnings Conference Call (Sept. 8, 2009)
(emphasis added).


920586.1                                       61
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 64 of 95




            146.   In December of 2009 the CEO of Smithfield confirmed it had done its “fair

share” to cut supply and communicated that others needed to continue cutting supply to

“put this industry back in balance”:

                   We continue to take a leadership role there and we have
                   continued to take sow reductions and liquidation in our own
                   herds and all of that has essentially been completed from
                   Smithfield’s side, so I think we’ve certainly done more than
                   our fair share in terms of what this industry needs...I can tell
                   you that I know in the east, its [sic] been pretty public about
                   some of the producers on the east coast that have been cutting
                   back besides ourselves. We are getting a little more
                   information in the Midwest and I am saying that I have not seen
                   the significant Midwest reduction that would probably be
                   needed to put this industry back in balance.62

            147.   In a January 2010 article, an industry insider noted that the pork industry still

needed a 12% reduction in order to restore the pork industry to profitability, even though

sow numbers had already dropped by over 5% in 2009.

            148.   In March 2010, when asked about fourth quarter and 2011 volumes for pork,

Larry Pope, the CEO of Smithfield, indicated that further cuts were still to come:

                   Hog volumes for the rest of the fiscal year. That’s going to have
                   the impact starting next fiscal year when there is going to be
                   13,000 less. But I think we’ll pick up some of that in our other
                   operations. But I think 8,000 or 9,000 or 10,000 of those a day
                   will disappear from our operations and that represents about
                   8% of our, 8% of the hogs will be down. That’s for also the
                   fresh pork side.63




    62
           Q2 2010 Smithfield Foods Earnings Conference Call – Final (December 10, 2009).
    63
      Event Brief of Q3 2010 Smithfield Foods Earnings Conference Call – Final (Mar.
11, 2010).


920586.1                                       62
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 65 of 95




            149.   On March 8, 2010, Wesley Mendonça Batista mentioned Defendant JBS’

reduction in hog supply as a driver of profitability, and stated that these efforts were

resulting in protein shortages. Mr. Batista stated:

                   [A] combination of reduction in supply for cattle, for hogs and
                   for chicken and in the other hand the improvement and increase
                   in consumption in the emergent markets we are very optimistic
                   about our business, about the margin that we will see a strong
                   demand and this reduction in supply, so we believe that we will
                   see some shortage in protein going forward.64

  Despite having the economic incentive (increased demand) to increase supply and

  capture market share, JBS adhered to Defendants’ agreed upon scheme to limit hog

  supply.

            150.   As of March 2010, US pork production was noted to be down 7% so far, with

6% of the reduction coming from a reduction in slaughter and 1% from lower market

weights. Defendants also were reported to have increased exports 8% by March 2010,

which was expected to lead to higher hog prices.

            151.   The Defendants also acknowledged access to information that allowed them

to know that the supply of pork would not be increasing. For example, in December 2010,

Larry Pope, the CEO of Smithfield, stated:

                   We certainly compare ourselves to our competitors as best we
                   can. Given the information we think we have public plus what
                   we think we know privately, how many they kill, what their
                   processing levels are and things like to. This is information
                   you may not quite have. And we have been certainly impressed
                   with how our competitors have been able to achieve margins



    64
           JBS Q2 2009 Earnings Conference Call (Mar. 8, 2010).


920586.1                                     63
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 66 of 95




                  that we have not been able to achieve because our fresh pork
                  competes very competitively with theirs.65

As set forth above, Smithfield had access to competitively sensitive information from its

competitors through the Agri Stats reports, which allowed it to know confidential supply

information from its competitors.

           152.   Supply level information regarding competitors allowed Defendants to know

that supply would not increase in the future, given the lifecycles of the animals. Based on

this knowledge, in November of 2010 Hormel CFO, Jody Feragen, stated that she did not

think the industry would see large scale expansion given profitability for the pork

integrators.66

           153.   In February 2011, Tyson’s chief operating officer (COO) stated:

                  I think there is still a widely held belief that our Beef and Pork
                  profitability isn’t sustainable. I want to again explain why we
                  don’t believe that is true. If we look at supply, current cattle
                  and hogs production levels can’t change much in 2011 because
                  of the limits of the animals’ lifecycles.

Again, the way to know the level of production in the industry would be through the

provision of competitively sensitive information by a competitor of Tyson.

           154.   In the face of ever-increasing margins, when asked whether the type of

profits would continue, in March 2011, Larry Pope and Robert (Bo) Manly of Smithfield




     Event Brief of Q2 2011 Smithfield Foods Earnings Conference Call – Final (Dec.
    65

2010) (emphasis added).
     Q1 2010 Hormel Foods Corporation Earnings Conference Call – Final (Nov 23,
    66

2010).


920586.1                                      64
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 67 of 95




confirmed to their competitors that it would not increase capacity, even in the face of the

clear profitability:

                 LARRY POPE: We closed last night at nearly $64 for hogs.
                 Yet we are projecting over the next 90 days we will be up
                 another 20% from that. I mean those are big numbers to get the
                 meat prices in the retail and food service case to cover that. . .
                 .

                 HEATHER JONES: So you are just striking a note of caution
                 because you know it can’t stay this way indefinitely; but it’s
                 not that you foresee this reversion to that norm over the near
                 term?

                 BO MANLY: I don’t see it on the horizon, on the foreseeable
                 horizon. We are still going to have -- should have good
                 margins, but I can’t believe --

                 LARRY POPE: Heather, we are sitting here today, we are
                 halfway -- closing in on halfway through our fourth quarter,
                 and we have had very good margins through February and
                 March, through today. We have got double-digit margins
                 today.

                 BO MANLY: It will correct itself over the long run, because
                 this type of return on investment would attract capital, would
                 attract expansion, and we kill more pigs and drive the margins
                 lower. So it will either happen by itself or someone is going to
                 build a plant.

                 HEATHER JONES: All right, okay. Thank you.

                 LARRY POPE: You get two-year visibility on that, though.
                 You get to know when somebody is building a plant because
                 they have got to file for a permit and they have actually got to
                 build the thing. . . . And by the way, we are not going to build
                 a new plant to expand capacity.67




     Event Brief of Q3 2011 Smithfield Foods Earnings Conference Call – Final (Mar.
    67

2011) (emphasis added).


920586.1                                     65
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 68 of 95




           155.   In March 2012, the VP of Finance and chief accounting officer of Smithfield

stated that no one in the industry would be “real excited about adding capacity” when the

losses of 24 to 36 months ago were considered:

                  Nonetheless, you see some pretty significant fluctuations. Just
                  two weeks ago, I think we had -- there were rumors the Chinese
                  buying corn, and boom, all of a sudden the corn market is up
                  $0.20, $0.30. So there is some volatility there. And what I
                  would tell you is that keeps a lid on pork production. The pork
                  guys in the United States have not forgotten 24 or 36 months
                  ago when there were significant losses in the industry. There
                  is no one going to be real excited about adding capacity,
                  adding sows at a time when we’ve got such volatility.68

           156.   By May 2012, industry observers were noting that the reductions in slaughter

capacity meant Defendants may not have enough capacity to slaughter expected hog levels

by the fall. In fact, Steve Meyer of Paragon Economics noted that slaughter capacity would

not keep up with hog capacity through late 2013 given that Defendants were holding their

slaughter levels constant.

           157.   In August 2012, Defendant Indiana Packers’ president Gary Jacobson

commented that the pork company “runs ‘on a sold-out position.’”69 Mr. Jacobson

attempted to make excuses for reducing the supply of pork. “‘It’s been a good strong,

steady growth,’ Jacobson said. ‘Indiana is in the heart of corn country and pigs are the heart

of corn consumption, so business has been very good. This summer’s heat waves and




    68
      Smithfield Foods at Barclays Bank High Yield Bond and Syndicated Loan
Conference – Final (Mar. 26, 2012) (emphasis added).
    69
     Sarah Einselen, Food Packing Business Steady So Far, Pharos-Tribune (Aug. 1,
2012).


920586.1                                    66
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 69 of 95




drought are likely to affect pork prices starting this fall and into the spring,’ said Jacobson.

High corn prices make pig farming less profitable, he explained, both reducing the supply

of pork for processing plants come next spring and making the pork that is on the market

more expensive. In the short run, high temperatures make pigs less hungry and they don’t

fatten for market as quickly as they would in a cooler year. That means farmers either wait

longer to bring their swine to market or take them to market as usual but at a lighter weight.

‘So, the impact has not been really significant as far as production as a whole,’ Jacobson

said, but it remains to be seen how the drought will change the plant’s supply in the coming

months.”70

            158.   In December 2013 Robert Manly of Smithfield emphasized that coordinated

industry action was necessary to “balance supply and demand:”

                   So I think you really need to look at the overall industry
                   balance of supply and demand to be able to determine, and the
                   industry move prices up and collectively as a group. We’ve got
                   limited ability to do it ourselves if the rest of the industry
                   doesn’t follow, but the consumer tends to be willing to pay
                   proportionately higher values for their pork meat when small
                   increments of supply are withdrawn from the marketplace.71

            159.   On May 15, 2013, Wesley Mendonça Batista continued to demonstrate

Defendant JBS’ ability to constrain the pork market. During a quarterly earnings call he

stated that “[i]n pork, given some restrictions in supply we have been able to pass price

through the system and we are seeing good margins in our pork business. . . . So this is a




    70
           Id.
    71
           Q2 2014 Smithfield Foods Earnings Conference Call (December 23, 2013).


920586.1                                     67
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 70 of 95




clear sign that we have been able to pass price increase in chicken and pork and not in the

same extent in beef.”

           160.   Defendants further refused to increase their capacity and gain market share

even when market fundamentals and economics dictated otherwise. For example, during

the 2014 PEDv epidemic, which caused industry supply disruptions, Eric Haman,

Defendant Clemens Food Group’s communication manager, stated the disease “‘had a very

minimal impact on our hog flow, especially when you compare it to others in the industry’

Haman said. ‘That’s one of the many benefits of raising hogs in Pennsylvania, since we

have a much lower density of pigs than other states, which decreases the risk of (a virus)

like this.’”72 Yet, in furtherance of their conspiracy Defendant Clemens did not take

advantage of having few PEDv infected pigs. Instead of attempting to increase their market

share, they stayed the course with their fellow competitors.

           161.   Defendants’ conspiracy was yielding substantial profits by 2014. In October

2014, Pork Powerhouses reported that “Hogs made history this summer. Pork producer

profits were, quite simply, enormous -- averaging $82 profit for each hog marketed in the

third quarter.” The report also noted that “Joe Szaloky, vice president of business

development and planning for Smithfield, is confident about profit during the next year,

but ‘concerned 2016 could be “problematic” if the industry expands too fast. The PED

virus trimmed supply, but higher market weights helped compensate.’”




    72
    Kyle Bagentose, Pig Virus Has Ability To Affect Local Herds, Bucks County Courier
Times (May 4, 2014).


920586.1                                    68
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 71 of 95




            162.   In early 2015, Pig International noted the continuing problem of available

daily slaughter capacity limiting the ability to significantly expand pork production.

Specifically, pork producers rushed to sign contracts with Defendants that would protect

them if production exceeded slaughter capacity as some feared.

            163.   In February 2017, Seaboard and Triumph Foods announced plans to expand

their joint pork processing facility in Sioux City, Iowa, operated by their 50/50 joint venture

Seaboard Triumph Foods, LLC, to include a second shift.73 In announcing the potential

second shift, Mark Porter, Seaboard Triumph Foods Chief Operating Officer, stated: “The

timing of the expansion for a second shift is a result of growing demand for the Seaboard

Foods line of quality pork products as well as ongoing growth in the industry.”74 However,

in furtherance of the conspiracy, Triumph/Seaboard postponed the addition of a second

shift.75

I.          Abnormal pricing during the Class Period demonstrates the success of the
            collusive scheme.

            164.   Beginning in 2009, the pork industry showed abnormal price movements,

i.e., increases in prices for the average hog whole price unexplained by increases in costs.

All of these pricing measurements show a significant break between pricing prior to 2009


     73
     Tia Heidenbrecht, New Pork Processing Plant Adds Second Shift In Sioux City (Feb.
17, 2017) (available at http://www.ktiv.com/story/34534148/2017/02/ Friday/seaboard-
triumph-foods-announces-plans-to-expand-pork-processing-plant-in-sioux-city).
     74
           Id.
     75
      Jeff DeYoung, Pork Packing Capacity Faces Delay to Growth, Iowa Farmer Today
(June 2, 2018) (available at https://www.agupdate.com/iowafarmertoday/news/
livestock/pork-packing-capacity-faces-delays-to-growth/article_f86fde7e-64dc-11e8-
b288-475ac8083072.html.).


920586.1                                    69
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 72 of 95




and pricing after 2009, supporting the plausibility of a conspiracy to increase prices of

pork. Plaintiffs have measured the various abnormal pricing movements in a number of

ways, including: (i) the average live hog price, (ii) the pork cut-out composite price, (iii)

the pork integrators’ margin during the class period; and (iv) the defendants’ revenues

before and during the class period. Each of these measures supports Plaintiffs’ allegations

that Defendants conspired to restrict production and otherwise acted in a concerted manner

to increase pork prices in the U.S.

           1.     The average hog wholesale price experienced an unprecedented increase
                  beginning in 2009.

           165.   According to aggregate prices published by the USDA, prices for pork

products were less than $1.40/lb from 2000 to 2009, the hog market year average price was

at times substantially less. Thereafter, prices increased dramatically, rising to more than

$1.80/lb in 2014, and never dropping or below $1.40/lb again. Figure 9 below shows the

unprecedented increase in swine prices beginning in 2009, which stayed elevated through

2018.




920586.1                                 70
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 73 of 95




             Figure 9: Average Hog Wholesale Prices in Cents per lb., 2000-2018




           166.   As Figure 10 below shows, publicly available data also demonstrates that

pork integrators’ earnings increased steadily over the years 2009 to 2016, with a slight

decline in 2017, demonstrating an unusual increase in profits that was resistant to changes

in price during the conspiracy period. These substantial profit increases bear the hallmarks

of coordinated efforts to constrain supply short of demand.




920586.1                                   71
                               CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 74 of 95




                                                         Figure 10: Integrator Earnings per Retail Weight, 2000-2017
                                                    80



                                                    70
      Price per Retail Weight, cents per lb.




                                                    60



                                                    50



                                                    40



                                                    30



                                                    20



                                                    10



                                                    0
                                                         2000               2005                2010                2015




                                               2.         The pork cut-out composite price experienced a dramatic increase
                                                          beginning in 2009 and continuing throughout the class period.

                                               167.       During the Class Period various pork products saw substantial increases in

prices, compared with before the Class Period. As shown in Figure 11 below, using one

particular price for pork, the lean hog composite price, Plaintiffs have performed a pricing

analysis which shows that the average price index increased significantly during the class

period:




920586.1                                                                           72
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 75 of 95




                       Figure 11: Lean Hog Composite Price 2000-2019




           3.     Defendants’ revenues increased beginning in 2009, even taking into
                  account defendant-specific costs.

           168.   For two of the largest defendants, Tyson and Smithfield, Plaintiffs’ experts

examined the spread between pork revenue and pork-related costs (costs of goods sold +

operating costs), as a proxy for measuring the spread between a defendant’s price of

wholesale pork and its hog costs. This measurement accounts for Defendant-specific

operating costs. This analysis confirms the beginning of abnormal pricing in 2009, where

there was a divergence in revenue and costs beginning at the start of the class period in

2009.


920586.1                                    73
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 76 of 95




           169.     Figure 12 shows a break in revenues and costs around the start of the Class

Period in 2009 for Tyson:

                  Figure 12: Tyson’s Revenues vs Costs, April 2002 to April 2018




           170.     The same analysis for Smithfield shows a similar break in revenues and costs

beginning at the start of the class period:




920586.1                                      74
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 77 of 95




            Figure 13: Smithfield’s Revenues vs Costs, January 2004 to June 2016




           171.   These analyses of the spread between costs and prices relate solely to each

defendant’s pork segment, and thus confirm that rising costs in pork production do not

explain the increases in price seen during the Class Period.

J.         Overcharges due to the cartel were reflected in higher pork prices.

           172.   Pork is a commodity product in which the pork sold by competitors has no

meaningful difference and is thus interchangeable. As such price is driven by the economic




920586.1                                    75
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 78 of 95




fundamentals of supply and demand. In the words of Tyson Foods, Inc. COO, James

Lochner, “As you know decreased supply should be favorable to pricing.”76

            173.   By reducing, stabilizing and maintaining the supply of pork even in the face

of increasing demand, Defendants’ common goal was to increase the price of pork and

their margins. In 2012 the CEO of Tyson reported that these efforts were successful,

stating: “Well, what we’ve seen happen, and it’s about evolving over time, is beef prices

have inflated from a reduced supply, increased global demand, same with pork prices

inflating from reduced supply and global demand, putting less domestic product on the

market.”

            174.   The volume of U.S. commerce in the pork industry is enormous. Total pork

sales in the United States for a portion of the Class Period were:

                        2016 - $18.9 billion
                        2015 - $21.0 billion
                        2014 - $26.4 billion
                        2013 - $23.4 billion

            175.   Each Defendant’s annual sales of pork products are also very large. For

example, in 2016 Smithfield reported $3.7 billion of fresh pork sales, and an additional $5

billion in packaged pork product sales. That same year, Tyson reported $4.9 billion in pork

sales. With such enormous revenues, the ability to stabilize or increase the margin even in

small amounts has an enormous impact on profits, resulting in substantial damages to class

members.




    76
           Q1 2010 Tyson Foods, Inc. Earnings Conference Call (February 12, 2010).


920586.1                                     76
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 79 of 95




           176.   The Bureau of Labor Statistics tracks commonly purchased products in its

Consumer Price Index (“CPI”). From the end of 2009 to the end of 2017, the CPI for all

food products rose approximately 15.4 percent. Over the same period, prices for pork have

increased substantially more for consumers over the Class Period. For example, the price

of a pound of bacon has increased from $3.57 at the end of 2009 to $5.60 at the end of

2017, an increase of 56.9 percent:

  Figure 14: CPI-Average Price Data for Bacon, Sliced, per pound, from 1995-2017




           177.   Similarly, the CPI for other pork products, excluding canned ham and

luncheon slices, show a marked increase over the Class Period, moving from $2.05 per

pound at the end of 2009 to $2.65 at the end of 2017 (approximately 29.3 percent):




920586.1                                   77
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 80 of 95




   Figure 15: CPI-Average Price Data for Other Pork, per pound, from 1998-2017




           178.   And the CPI for another commonly purchased consumer item, ham, shows

an increase from $2.15 at the end of 2009 to $2.91 at the end of 2017 (or 35.4 percent):

           Figure 16: CPI-Average Price Data for Ham, per pound, from 1998-2017




920586.1                                 78
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 81 of 95




           179.                                  In other words, the increases in the prices of pork far out-paced the growth

in prices for other food products during the class period. These price increases were not the

result of retailers’ desire to move prices upward. Instead, they were the result of increased

wholesale prices. In addition to CPIs, the Bureau of Labor Statistics also maintains a series

of Producer Price Indexes (“PPI”) which measure the changes in wholesale prices for pork

products. As shown in Figure 17 below, the processed pork wholesale prices appear to be

the motivator of the higher retail prices, with prices climbing significantly beginning during

the conspiracy:

                                       Figure 17: PPI for Pork, Processed or Cured, Not Canned or Made Into
                                                              Sausage, from 1995-2017

                                               180
            Index Value (Base Date: 12/1982)




                                               160
                                               140
                                               120
                                               100
                                               80
                                               60
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                                               20
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920586.1                                                                   79
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 82 of 95




           180.   Given these market conditions, the overcharge due to Defendants’

anticompetitive agreement to artificially increase and stabilize the price and supply of pork

was borne in large part by Plaintiffs and the Plaintiff Class.

K.         Defendants actively concealed the conspiracy and Plaintiffs did not and could
           not have discovered Defendants’ anticompetitive conduct.

           181.   Plaintiffs and the members of the Class had neither actual nor constructive

knowledge of the facts constituting their claim for relief. Plaintiffs and members of the

Class did not discover, and could not have discovered through the exercise of reasonable

diligence, the existence of the conspiracy alleged herein until shortly before filing this

Complaint. Defendants engaged in a secret conspiracy that did not reveal facts that would

put Plaintiffs or the Class on inquiry notice that there was a conspiracy to fix prices for

pork. Throughout the Class Period, Defendants effectively, affirmatively, and fraudulently

concealed their unlawful combination and conspiracy from Plaintiffs and class members.

           182.   The combination and conspiracy alleged herein was fraudulently concealed

by Defendants by various means and methods, including but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings in order to prevent the existence of written records, limiting any explicit reference

to competitor pricing or supply restraint communications on documents, communicating

competitively sensitive data to one another through Agri Stats - a “proprietary, privileged,

and confidential” system that kept both the content and participants in the system secret,

and concealing the existence and nature of their competitor supply restraint and price

discussions from non-conspirators (including customers).




920586.1                                    80
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 83 of 95




            183.   In 2009, the President of Agri Stats, Brian Snyder, commented on how

secretive the true nature of Agri Stats was when he stated:

                   Agri Stats has always been kind of a quiet company. There’s
                   not a whole lot of people that know a lot about us obviously
                   due to confidentiality that we try to protect. We don’t
                   advertise. We don’t talk about what we do. It’s always kind of
                   just in the background, and really our specialty is working
                   directly with companies about their opportunities and so
                   forth.77

            184.   At the same 2009 presentation, when discussing “bottom line numbers” (a

company’s net earnings), Mr. Snyder declined to display those numbers publicly, stating

“I’m not going to display the actual bottom line to the group here just because of the

confidentiality nature of the information.”78 And yet, despite refusing to show this

information publicly, Agri Stats provided producers with the “bottom line numbers” of

their competitors on a regular basis via the reports discussed above. These statements acted

to conceal the true detail and nature of the Agri Stats reports from Plaintiffs and the public

in general.

            185.   Larry Pope, the CEO of Smithfield, made similar references to secret

information in December 2010, explaining that he was confident pork supplies would not

be increasing in the market, based on

                   the information we think we have public plus what we think
                   we know privately, how many they kill, what their processing




    77
           Sanderson Farms Investor Day – Final (Oct. 2009) (emphasis added).
    78
           Id.


920586.1                                     81
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 84 of 95




                  levels are and things like [that]. This is information you may
                  not quite have.79

           186.   At other times, Defendants attributed the stability in the pork market to other

reasons such as “good programs with our retailers” and “lower grain costs.” As Larry Pope,

stated in June 2012:

                  KEN ZASLOW: What evidence do you have to actually give
                  you some confidence that fresh pork margins will improve
                  sequentially throughout the year?

                  LARRY POPE: Strong exports, $71 hog today, good programs
                  with our retailers, and lower grain cost in the future and a
                  futures market that says the hog market’s going to be fine. I
                  guess beyond that, you’ve got chicken and beef that are going
                  to be down significantly.

                  BO MANLY: And I think there is also some optimism that the
                  US consumer may have some greater disposable income from
                  less gasoline prices and improvement in the economy.80

             187. Not until recently was the fact of the pork industry’s use of Agri Stats widely

  known or reported. An investigative article published in February 2017 by Bloomberg

  Businessweek suggested the conspiracy that began among Broiler producers and Agri

  Stats was being replicated in the pork industry.81 The article reported that Agri Stats

                  has . . . been branching out into the hog business, which has,
                  over the past 30 years, started to look more and more like the
                  chicken industry, with hogs being raised under contract for


     Event Brief of Q2 2011 Smithfield Foods Earnings Conference Call – Final (Dec.
    79

2010) (emphasis added).
     Event Brief of Q4 2012 Smithfield Foods Earnings Conference Call – Final (June 14,
    80

2012).
    81
      See Christopher Leonard, Is the Chicken Industry Rigged?, Bloomberg Businessweek
(Feb. 15, 2017) (available at https://www.bloomberg.com/news/features/ 2017-02-15/ is-
the-chicken-industry-rigged).


920586.1                                     82
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 85 of 95




                   vertically integrated companies such as Smithfield Foods. It
                   appears that demand for the service is strong. At a hog industry
                   trade show in 2011, an Agri Stats employee pitched the
                   company’s services. His slideshow indicated that 27
                   companies had already signed up.82

While Bloomberg Businessweek article did not conclude that pork producers were engaged

in a horizontal conspiracy, it did suggest for the first time in a widely circulated article that

the pork industry may have been using Agri Stats as a vehicle for collusion similar to the

Broiler industry.

            188.   Only after the filing of a February 7, 2018, Second Consolidated and

Amended Complaint by the End User Plaintiff Class in the In Re Broiler Chicken Antitrust

Litigation, Case No. 1:16-cv-08637 (N.D. Ill.), was there a comprehensive presentation of

the full scope of the confidential services that Agri Stats’ provides to its clients in the

Broiler industry.

            189.   The filing of this amended complaint, along with the February 2017 article

by Bloomberg Businessweek disclosing the pork industry’s use of Agri Stats, collectively

disclosed the likelihood that the pork industry was using Agri Stats to share confidential

industry information that could facilitate an anticompetitive conspiracy.

            190.   Defendants’ anticompetitive conspiracy, by its very nature, was self-

concealing. Pork is not exempt from antitrust regulation, and thus, before these recent

events Plaintiffs reasonably considered it to be a competitive industry. Accordingly, a




    82
           Id.


920586.1                                      83
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 86 of 95




reasonable person under the circumstances would not have been alerted to begin to

investigate the legitimacy of Defendants’ pork prices before these recent events.

           191.   By virtue of the fraudulent concealment of their wrongful conduct by

Defendants and all of their co-conspirators, the running of any statute of limitations has

been tolled and suspended with respect to any claims and rights of action that Plaintiffs and

the other class members have as a result of the unlawful combination and conspiracy

alleged in this complaint.

                           V.      CLASS ACTION ALLEGATIONS

           192.   Plaintiffs bring this action on behalf of themselves and as a class action under

the provisions of Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on

behalf of the members of the following Plaintiff Class:

                  All persons who purchased pork directly from any of the
                  Defendants or any co-conspirator identified in this action, or
                  their respective subsidiaries or affiliates for use or delivery in
                  the United States from at least as early as January 1, 2009 until
                  the Present. Specifically excluded from this Class are the
                  Defendants; the officers, directors or employees of any
                  Defendant; any entity in which any Defendant has a controlling
                  interest; and any affiliate, legal representative, heir or assign of
                  any Defendant. Also excluded from this Class are any federal,
                  state or local governmental entities, any judicial officer
                  presiding over this action and the members of his/her
                  immediate family and judicial staff, any juror assigned to this
                  action, and any co-conspirator identified in this action.

           193.   Class Identity: The Plaintiff Class is readily identifiable and is one for which

records should exist in the files of Defendants and their co-conspirators.

           194.   Numerosity: Plaintiffs do not know the exact number of class members

because such information presently is in the exclusive control of Defendants. Plaintiffs



920586.1                                      84
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 87 of 95




believe that due to the nature of the trade and commerce involved, there are thousands of

Class members geographically dispersed throughout the United States, such that joinder of

all class members is impracticable.

           195.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the

Plaintiff Class because Plaintiffs purchased pork directly from one or more of the

Defendants, and therefore Plaintiffs’ claims arise from the same common course of conduct

giving rise to the claims of the members of the Class and the relief sought is common to

the Class.

           196.   Common Questions Predominate: There are questions of law and fact

common to the Class, including, but not limited to:

                  A.     Whether Defendants and their co-conspirators engaged in an

                         agreement, combination, or conspiracy to fix, raise, elevate, maintain,

                         or stabilize prices of pork sold in interstate commerce in the United

                         States;

                  B.     The identity of the participants of the alleged conspiracy;

                  C.     The duration of the conspiracy alleged herein and the acts performed

                         by Defendants and their co-conspirators in furtherance of the

                         conspiracy;

                  D.     Whether the alleged conspiracy violated the antitrust laws;

                  E.     Whether the conduct of Defendants and their co-conspirators, as

                         alleged in this Complaint, caused injury to the business or property of

                         the Plaintiffs and the other members of the class;


920586.1                                     85
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 88 of 95




                  F.     The effect of Defendants’ alleged conspiracy on the prices of pork

                         sold in the United States during the Class Period;

                  G.     Whether Plaintiffs and other members of the class are entitled to,

                         among other things, injunctive relief and if so, the nature and extent

                         of such injunctive relief; and

                  H.     The appropriate class-wide measure of damages.

These and other questions of law or fact which are common to the members of the Class

predominate over any questions affecting only individual members of the Class.

           197.   Adequacy: Plaintiffs will fairly and adequately protect the interests of the

Class in that Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other

members of the Class who directly purchased pork and Plaintiffs have retained counsel

competent and experienced in the prosecution of class actions and antitrust litigation to

represent themselves and the Class.

           198.   Superiority: A class action is superior to other available methods for the fair

and efficient adjudication of this controversy since individual joinder of all damaged Class

members is impractical. Prosecution as a class action will eliminate the possibility of

duplicative litigation. The relatively small damages suffered by individual Class members

compared to the expense and burden of individual prosecution of the claims asserted in this

litigation means that, absent a class action, it would not be feasible for Class members to

seek redress for the violations of law herein alleged. Further, individual litigation presents

the potential for inconsistent or contradictory judgments and would greatly magnify the

delay and expense to all parties and to the court system. Therefore, a class action presents


920586.1                                     86
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 89 of 95




far fewer case management difficulties and will provide the benefits of unitary

adjudication, economy of scale and comprehensive supervision by a single court.

           199.   The prosecution of separate actions by individual Class members would

create the risk of inconsistent or varying adjudications, establishing incompatible standards

of conduct for Defendants.

           200.   Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief appropriate with respect to the Class as a whole.

                                 VI.     ANTITRUST INJURY

           201.   Defendants’ anticompetitive conduct had the following effects, among

others:

                  A.    Price competition has been restrained or eliminated with respect to

                        pork;

                  B.    The prices of pork have been fixed, raised, stabilized, or maintained

                        at artificially inflated levels;

                  C.    Direct purchasers of pork have been deprived of free and open

                        competition; and

                  D.    Direct purchasers of pork paid artificially inflated prices.

           202.   The purpose of the conspiratorial conduct of the Defendants and their co-

conspirators was to raise, fix, or maintain the price of pork. As a direct and foreseeable

result, Plaintiffs and the Class paid supra-competitive prices for pork during the Class

Period.




920586.1                                      87
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 90 of 95




           203.   By reason of the alleged violations of the antitrust laws, Plaintiffs and the

Class have sustained injury to their businesses or property, having paid higher prices for

pork than they would have paid in the absence of Defendants’ illegal contract, combination,

or conspiracy and as a result have suffered damages.

           204.   This is an antitrust injury of the type that the antitrust laws were meant to

punish and prevent.

              VII.   VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           205.   Plaintiffs incorporate by reference the allegations in the preceding

paragraphs.

           206.   Defendants and all of their co-conspirators entered into and engaged in a

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of

the Sherman Act, 15 U.S.C. § 1.

           207.   Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

           208.   At least as early as January 1, 2009, and continuing until present, the exact

dates being unknown to Plaintiffs, Defendants and all of their co-conspirators entered into

a continuing agreement, understanding and conspiracy in restraint of trade to fix, raise,

stabilize, and maintain prices for pork, thereby creating anticompetitive effects.

           209.   Defendants’ anticompetitive acts had a direct, substantial, and foreseeable

effect on interstate commerce by raising and fixing prices for pork throughout the United

States.


920586.1                                    88
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 91 of 95




           210.   The conspiratorial acts and combinations have caused unreasonable

restraints in the market for pork.

           211.   As a result of Defendants’ unlawful conduct, Plaintiffs and the members of

the Class have been harmed by being forced to pay inflated, supracompetitive prices for

pork.

           212.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined

and conspired to do, including but not limited to the acts, practices, and course of conduct

set forth in this Complaint. Defendants’ conspiracy had the following effects, among

others:

                  A.    Price competition in the market for pork has been restrained,

                        suppressed, and/or eliminated in the United States;

                  B.    Prices for pork sold by Defendants, their divisions, subsidiaries, and

                        affiliates, and all of their co-conspirators have been fixed, raised,

                        stabilized, and maintained at artificially high, non-competitive levels

                        throughout the United States; and

                  C.    Plaintiffs and members of the Class who directly purchased pork from

                        Defendants, their divisions, subsidiaries, and affiliates, and all of their

                        co-co-conspirators, have been deprived of the benefits of free and

                        open competition in the purchase of pork.




920586.1                                     89
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 92 of 95




           213.   Defendants took all of the actions alleged in this Complaint with the

knowledge and intended effect that their actions would proximately cause the price of pork

to be higher than it would be but for Defendants’ conduct.

           214.   As a direct and proximate result of Defendants’ anticompetitive conduct,

Plaintiffs and members of the Class have been injured in their business or property and will

continue to be injured in their business and property by paying more for pork than they

would have paid and will pay in the absence of the conspiracy.

           215.   The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

                            VIII.         REQUEST FOR RELIEF

           WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

           216.   The Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint

Plaintiffs as Class Representatives and their counsel of record as Class Counsel, and direct

that at a practicable time notice of this action, as provided by Rule 23(c)(2) of the Federal

Rules of Civil Procedure, be given to the Class;

           217.   The unlawful conduct, conspiracy or combination alleged herein be adjudged

and decreed a per se violation of Section 1 of the Sherman Act;

           218.   Plaintiffs and the Class recover damages, to the maximum extent allowed

under federal antitrust laws, and that a joint and several judgment in favor of Plaintiffs and

the members of the Class be entered against Defendants in an amount to be trebled under

U.S. antitrust laws;


920586.1                                    90
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 93 of 95




           219.   Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining or renewing the conduct,

conspiracy, or combination alleged herein, or from entering into any other conspiracy or

combination having a similar purpose or effect, and from adopting or following any

practice, plan, program, or device having a similar purpose or effect;

           220.   Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and

restrained from in any manner continuing, maintaining, or renewing the sharing of highly

sensitive competitive information that permits individual identification of company’s

information;

           221.   Plaintiffs and the members of the Class be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from

and after the date of service of this Complaint;

           222.   Plaintiffs and the members of the Class recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

           223.   Plaintiffs and the members of the Class have such other and further relief as

the case may require and the Court may deem just and proper.




920586.1                                     91
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 94 of 95




                                IX. JURY TRIAL DEMANDED

           224.   Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules

of Civil Procedure, of all issues so triable.


 Dated: November 6, 2019January 14,
 2020                                             s/ Brian D. Clark
                                                  W. Joseph Bruckner (MN #0147758)
                                                  Elizabeth R. Odette (MN #0340698)
                                                  Brian D. Clark (MN #0390069)
                                                  Arielle S. Wagner (MN #0398332)
                                                  Stephanie A. Chen (MN #0400032)
                                                  LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                                  100 Washington Avenue South, Suite 2200
                                                  Minneapolis, MN 55401
                                                  T: (612) 339-6900
                                                  F: (612) 339-0981
                                                  wjbruckner@locklaw.com
                                                  erodette@locklaw.com
                                                  bdclark@locklaw.com
                                                  aswagner@locklaw.com
                                                  sachen@locklaw.com
                                                  aswagner@locklaw.com

                                                  Bruce L. Simon (Pro Hac Vice)
                                                  Neil Swartzberg (Pro Hac Vice)
                                                  PEARSON, SIMON & WARSHAW, LLP
                                                  350 Sansome Street, Suite 680
                                                  San Francisco, CA 94104
                                                  T: (415) 433-9000
                                                  F: (415) 433-9008
                                                  bsimon@pswlaw.com
                                                  nswartzberg@pswlaw.com


                                                Clifford H. Pearson (Pro Hac Vice)
                                                Daniel Warshaw (Pro Hac Vice)
                                                Bobby Pouya (Pro Hac Vice)
                                                Michael H. Pearson (Pro Hac Vice)
                                                PEARSON, SIMON & WARSHAW, LLP
                                                15165 Ventura Boulevard, Suite 400


920586.1                                     92
           CASE 0:18-cv-01776-JRT-JFD Doc. 425-1 Filed 01/14/20 Page 95 of 95




                                         Sherman Oaks, CA 92403
                                         T: (818) 788-8300
                                         F: (818) 788-8104
                                         cpearson@pswlaw.com
                                         dwarshaw@pswlaw.com
                                         bpouya@pswlaw.com
                                         mpearson@pswlaw.com

                                         Melissa S. Weiner (MN #0387900)
                                         PEARSON, SIMON & WARSHAW, LLP
                                         800 LaSalle Avenue, Suite 2150
                                         Minneapolis, MN 55402
                                         T: (612) 389-0600
                                         F: (612) 389-0610
                                         mweiner@pswlaw.com

                                         Interim Co-Lead Counsel for the Direct
                                         Purchaser Plaintiff Class




920586.1                                93
